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          IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


___________________________________

 EVELYN CINTRON,                   :
                                   :               19-CV-4078
         Plaintiff                 :
                                   :
         -VS-                      :
                                   :
 CITY OF PHILADELPHIA,             :
                                   :
         Defendant                 :
____________________________________

                             * * * * *

                 TUESDAY, FEBRUARY 14, 2023

                             * * * * *


           Videotape deposition of EVELYN CINTRON, was

taken at the law offices of Mincey, Fitzpatrick,

Ross, 1650 Liberty Place, Philadelphia, Pennsylvania,

before Renee Schumann, a Notary Public of the State

of New Jersey and Notary Public of the Commonwealth

of Pennsylvania, on the above date, commencing at

10:13 a.m.




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A P P E A R A N C E S:



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         ALSO PRESENT: Shala Hollis, Video Specialist




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 1                        I N D E X                                      1                 THE VIDEOTAPE OPERATOR:    All right,

 2                                                                       2          thank you.    Will the court reporter please

 3 WITNESS                                          PAGE                 3          swear in the witness.

 4 EVELYN CINTRON,                                                       4                           * * * * *

 5          (Witness Sworn.)                                             5                 EVELYN CINTRON, having been duly sworn

 6                                                                       6          according to law, was examined and testified

 7          DIRECT EXAMINATION BY MS. ULAK           5                   7          as follows:

 8          CROSS-EXAMINATION BY MR. GREEN         148                   8                          * * * * *

 9          CROSS-EXAMINATION BY MR. GOLDEN        155                   9                 THE VIDEOTAPE OPERATOR:    Counsel, you

10                                                                      10          may proceed.

11                                                                      11                           * * * * *

12                                                                      12                       DIRECT EXAMINATION
                         E X H I B I T S
13                                                                      13                           * * * * *

14 NUMBER                 DESCRIPTION                 PAGE              14 BY MS. ULAK:
15 City-1                 E-mail                         176            15          Q.     Good morning, Ms. Cintron.    My name is

16 City-2                 Statement                      176            16 Sharon Ulak, I represent the City of Philadelphia and
17 City-3                 E-mail                         176            17 Joseph Sullivan in a lawsuit you have brought.     We're

18 City-4                 Memorandum                     176            18 actually here today to continue your deposition, this
19                                                                      19 is part two of your deposition, we started part one
              (Exhibits attached to the transcript.)
20                                                                      20 on October 28th of 2022.
21                                                                      21                 When you began that deposition, Kevin
     REQUESTS FOR PRODUCTION:
22                                                                      22 Golden had given you some instructions, I am going to
     BY MS. ULAK: Page 75 Line 20
23                                                                      23 give you the same instructions so they may sound a
24                                                                      24 little bit repetitive, but it's important that we go
                                                               Page 4                                                        Page 6
 1                          * * * * *                                    1 over them again, and there are some new instructions
 2                 THE VIDEOTAPE OPERATOR:     This begins               2 here because we are on Zoom.
 3          media labeled number one of the remote video                 3                 So the court reporter here is taking

 4          recorded deposition of Ms. Evelyn Cintron in                 4 down everything that you're saying and she's making a
 5          the matter of Evelyn Cintron, plaintiff versus               5 transcript out of it.      For this reason it is

 6          City of Philadelphia, defendants, In The                     6 important that only one of us speaks at a time.      In

 7          United States District Court for the Eastern                 7 everyday conversation people tend to interrupt each
 8          District of Pennsylvania.     Case 19-CV-4078.               8 other.    You might know where I'm going with my

 9          Today's date is February the 14, 2023.       The             9 question and you might be able to answer it before I
10          time is approximately 10:13 a.m.                            10 complete my question, and if we were just having a
11                 My name is Shala Hollis, I'm the legal               11 chat that would be fine, but because we have to make
12          video specialist from Lexitas Reporting                     12 a transcript and we have to go back and read it
13          Services.   The court reporter is Ms. Renee                 13 later, it's not going to read well if we're
14          Schumann also in association with Lexitas                   14 interrupting each other.      So I just ask that you let

15          Reporting Services.                                         15 me finish my question before you give me a response
16                 Will all counsel present please                      16 and I will do my best to let you finish your answer
17          introduce yourselves for the record.                        17 before I ask my next question.
18                 MS. ULAK:    Good morning, Sharon Ulak on            18                 If you don't understand a question that

19          behalf of the City of Philadelphia and Joseph               19 I ask you, please tell me that you don't understand
20          Sullivan.                                                   20 the question and I will do my best to clarify or
21                 MR. GREEN:    Isaac Green on behalf of               21 rephrase it.    If you don't know an answer to

22          plaintiff Evelyn Cintron.                                   22 something, you can tell me you don't know.      If you

23                 MR. GOLDEN:     Kevin Golden of O'Hagen              23 don't remember, you can tell me you don't remember.
24          Meyer for defendant Police Athletic League.                 24 Those are all perfectly fine responses.


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 1                I don't want you guessing at anything.            1        A.     Okay.

 2 If you answer a question of mine I'm going to assume             2        Q.     Okay.   And I'm sorry, just bear with me

 3 that you understood the question and that the answer             3 one second here.   All right.

 4 that you are giving is as truthful and accurate as it            4               And I know this is a continuation of

 5 can be.                                                          5 your deposition that we took it a very long time ago
 6                If at any time you need to take a                 6 and I think especially at the beginning you might
 7 break, you should tell me you need to take a break               7 hear some repetitive questions from the first time
 8 and we can take a break, I just ask that if I've                 8 around and, you know, for that I'm not trying to
 9 asked you a question that, you know, the answer                  9 trick you, I'm not trying to trip you up.    I'm trying

10 before we proceed with taking a break and if you --             10 to reestablish where we were when we had left off.
11 yeah, if you have any need to stop at any point, just           11               So, Ms. Cintron, you have brought this

12 let me know.                                                    12 lawsuit against the City of Philadelphia and Joseph
13                And as a reminder, even though we're on          13 Sullivan and it largely concerns your time as the
14 Zoom today and it's a little bit different than the             14 commanding officer of the Police Athletic League in
15 last time we met, you are still under oath and I do             15 the Philadelphia Police Department.
16 want to ask if -- you know, before we proceed do you            16               Am I -- am I understanding that

17 have any anybody in the room with you today?                    17 correctly?
18        A.      No.                                              18        A.     Yes.

19        Q.      Okay.    And are you referring to any            19        Q.     Okay.   And when did you -- when did you

20 documents or notes today?                                       20 become the commanding officer of the Police Athletic
21        A.      No.                                              21 League?
22        Q.      Okay.    You testified previously, we had        22        A.     I believe it was the beginning of 2018.

23 discussed this -- you previously testified on October           23        Q.     Okay.

24 28th of 2022, do you remember testifying that day?              24        A.     It was 2018.

                                                          Page 8                                                           Page 10
 1        A.      Yes.                                              1        Q.     Okay.

 2        Q.      And after you gave that testimony, did            2        A.     Or '17, I can't recall the exact date.

 3 you have the chance to look at your transcript at                3        Q.     Okay, and that's fine.   If I didn't

 4 all?                                                             4 make that clear you can approximate.
 5        A.      No.                                               5               For approximately how long were you the

 6        Q.      Okay.                                             6 commanding officer of PAL?
 7        A.      I never received it.                              7        A.     Two years.

 8        Q.      Okay.    So just so we're clear, you've           8        Q.     And how many deputy commissioners did

 9 never read that transcript before, right?                        9 you report to while you were the commanding officer
10        A.      No.                                              10 of PAL?
11        Q.      Okay.    And you were under oath that day        11        A.     I originally reported to Deputy

12 and you remain under oath today.                                12 Commissioner Paterson and then I started reporting to
13                Do you understand all the instructions           13 Deputy Commissioner Sullivan.
14 I've given you?                                                 14        Q.     Do you recall for approximately how

15        A.      Yes.    Yes.                                     15 long you reported to Deputy Commissioner Paterson?
16        Q.      Okay.    Sorry, I was getting some               16        A.     For about two years.

17 feedback I wasn't sure if your counsel was trying to            17        Q.     And then you reported to Deputy

18 chime in with something, I apologize.                           18 Commissioner Sullivan for about a year?
19                That is sometimes the challenge with             19        A.     Yes.

20 technical difficulties in doing this on Zoom.       So if       20        Q.     Okay.   And when you started at PAL,

21 at any point there's some sort of a technical error             21 what were your duties and responsibilities as the
22 especially if you don't hear a question of mine and             22 commanding officer?
23 it might cut out, you might get interrupted, just               23        A.     As the commanding officer my

24 tell me and I will re-ask the question.     Okay?               24 instructions were to work -- that Ted Qualli and I


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 1 would work together to run the Police Athletic League            1        Q.     Okay.    In terms of funding for

 2 in terms of all operational and day-to-day                       2 programming though, did you have any responsibility
 3 programming.   Everything that had to do with PAL, Ted           3 for allocating that budget?
 4 Qualli and I were supposed to do together as                     4        A.     The programs team, we had a programs

 5 equals -- as equals, yeah.                                       5 team and they would allocate certain amount for the
 6        Q.      Okay.   And just for clarity of the               6 different programs to be used for those programs.
 7 record, who is Ted Qualli?                                       7        Q.     And who did the programs team work for?

 8        A.      Ted Qualli was the director of the                8        A.     They reported to Ted, but I was in

 9 Police Athletic League.                                          9 charge of the programs team.
10        Q.      Okay.   And when you say the day-to-day          10        Q.     Were they -- well, again I ask, who did

11 operations, what do you mean by that?                           11 they work for?
12        A.      Well, we were supposed to work in all            12        A.     They worked for the Police Athletic

13 matters pertaining to, you know, developing programs,           13 League, but there were some officers on the -- on the
14 finances, putting together events.    Basically                 14 meetings too, at the meetings also.
15 everything to run the organization.                             15        Q.     Okay.    And what did the officers do at

16        Q.      When you say finances, did you retain            16 those meetings?
17 any responsibilities for budgeting?                             17        A.     Well, when I arrived there, we develop,

18        A.      When I originally got there we would             18 you know, like meetings so they can coordinate the
19 work on the budget together but things changed                  19 events with the officers who were supposed to carry
20 because Ted Qualli and the Board would change the               20 out those programs.
21 budget to what they wanted regardless of what we                21        Q.     Okay.    But the people on that programs

22 discussed in -- at PAL.                                         22 team worked for PAL?
23        Q.      Okay.                                            23        A.     Yes, they worked for PAL but I was in

24        A.      Between Ted and I and the staff when we          24 charge of the program, and therefore, I would work
                                                         Page 12                                                          Page 14
 1 worked on the budget.                                            1 with them, not Ted, to run certain programs.
 2        Q.      Okay.   In terms of the budgeting, who            2        Q.     When you say to run certain programs,

 3 funds PAL; where does PAL get its money from?                    3 does that involve staffing support?
 4        A.      PAL, the Philadelphia Police Department           4        A.     Well, it's a basically to ensure that

 5 pays the officers' salary.                                       5 the money that's allocated to the program is spent
 6        Q.      Yes.                                              6 properly and that we carry out the programs according
 7        A.      And the Police Athletic League, the               7 to what we planned.
 8 nonprofit is based on fundraising.                               8        Q.     As the commander officer of PAL, did

 9        Q.      Okay.   You say the City of Philadelphia          9 you have any audit responsibilities over the PAL
10 paid the police officers' salaries, what do the                 10 budget?
11 police officers do?                                             11        A.     Yes.

12        A.      The police officers are assigned to the          12        Q.     Can you explain that more, what did you

13 centers or to an administrative position to assist in           13 do?
14 the day-to-day tasks that need to be done, as well as           14        A.     I had to make sure that the budget was

15 run the programs at the center with the children.               15 not overspent and that everybody stayed on track in
16        Q.      Okay.   Does the Philadelphia Police             16 terms of spending according to what was on the
17 Department provide any funding to PAL outside of the            17 budget.
18 staffing support?                                               18        Q.     Did you work with anybody at PAL when

19        A.      I don't know.                                    19 you were doing that?
20        Q.      Okay, that's fine.   As commanding               20        A.     Yes, I would consult with Sunny Li,

21 officer of PAL, did you have responsibility to                  21 sometimes with Ted about what was going on when we
22 approve a budget for PAL?                                       22 had -- when we would speak about programs.
23        A.      They would put a certain amount in the           23        Q.     And who is Sunny Li?

24 commander's budget.                                             24        A.     They were fully aware of what was going


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 1 on with the -- with the budget because we would, you           1 before you became the commanding officer of PAL?
 2 know, I would let them know what was going on.                 2        A.       No.

 3        Q.     Okay.    And I'm sorry, I didn't mean to         3        Q.       Excuse me.   Okay.   So when you were

 4 interrupt you, who is Sunny Li?                                4 appointed commanding officer of PAL, you said that
 5        A.     Sunny Li was the chief financial                 5 you had worked with Ted Qualli and it was your
 6 officer at PAL.                                                6 understanding that the two of you would work as
 7        Q.     When you were appointed commanding               7 equals at PAL; is that correct?
 8 officer of PAL, did you receive any documentation              8        A.       Yes.    That's what Ted Qualli told me,

 9 that would outline your duties and responsibilities            9 Commissioner Ross told me and Bernie Prazencia and
10 as the commander officer?                                     10 Ron Rabena.
11        A.     No.                                             11        Q.       Okay.   And as part of your duties and

12        Q.     Did you receive any special training to         12 responsibilities as commanding officer the PAL, how
13 be the commanding officer at PAL?                             13 often would you meet with PAL Board members?
14        A.     No.    I had the experience from being          14        A.       Only at the general meetings.    I met

15 management for almost 20 years.                               15 one time with -- I mean with Bernie Prazencia at his
16        Q.     And can you maybe elaborate a little            16 office with Ted which was the week I started, and
17 bit more on what you mean by the experience from              17 then after they told me that I would be at those
18 being management; what were you doing before you              18 meetings but then after that I wasn't invited to
19 became the commanding officer of PAL?                         19 those meetings.
20        A.     I was the second in command for 25th            20        Q.       Were those monthly meetings, bimonthly

21 District, administrative lieutenant and the five              21 meetings, do you know?
22 squad lieutenant in charge of the five squad team.            22        A.       They were monthly meetings and

23        Q.     How long were you at the 25th before            23 sometimes they would meet more often depending on the
24 you became the commanding officer of PAL?                     24 stuff -- whatever was going on at PAL.
                                                       Page 16                                                              Page 18
 1        A.     Two years.                                       1        Q.       Was the monthly meeting a general board

 2        Q.     Did you receive any training in budget           2 meeting?
 3 management when you became the commanding officer of           3        A.       No.    They had general board meetings

 4 PAL?                                                           4 and I would get invited to those.
 5        A.     Sunny Li and I sat down and she                  5        Q.       Okay.

 6 explained the budget to me and how it works.                   6        A.       But I was never invited to the

 7        Q.     Okay.    Did you receive any training in         7 decision-making meetings.
 8 auditing when you became the commanding officer of             8        Q.       Did they not make decisions at the

 9 PAL?                                                           9 monthly board -- general board meeting?
10        A.     No, but I did auditing at the 25th, you         10        A.       No, it was to present what we had

11 know, District to make sure that everything is -- is,         11 accomplished.
12 you know, correct.                                            12        Q.       Okay.

13        Q.     How would you conduct an audit at the           13        A.       Or what was coming.

14 25th District, what were you doing?                           14        Q.       What types of decisions were made at

15        A.     What do you mean, in the 25th District?         15 the decision-making meetings?
16        Q.     Yes.                                            16        A.       Ted Qualli would come from the meetings

17        A.     Oh, like if -- like when we were doing          17 and state things that we needed to do based on the
18 the certification for the -- for the Taliah (ph.) and         18 instructions he received from those meetings.     So it

19 they asked me to do an audit over everything so that          19 could be anything.      It could have been anything.

20 I know where or how rather what was correct and what          20        Q.       Can you give an example?

21 was incorrect as far as the operations room and the           21        A.       Yes.    Ted said -- would come from the

22 cell room and the policy that I wrote was implemented         22 meetings and say in reference to this budget, you
23 in order for us to get our certification.                     23 know, he would explain like we need to narrow down on
24        Q.     Did you ever do any budget auditing             24 this program because we're going over our budget or


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 1 we're doing this or we're doing that and he would                 1 followed by the then maintenance person Fran -- Fran
 2 explain what the Board wanted at that time.     It would          2 (sic) I think his name was, and shortly thereafter
 3 be about anything, so to pinpoint it it's like hard               3 Ted Qualli came out, Sergeant Fells came out and
 4 to pinpoint because it would be about many things.                4 Sunny Li came outside and when the sergeant was
 5        Q.       Did you go to the monthly general board           5 attempting to talk to me about the center and I
 6 meetings?                                                         6 looked over Ted Qualli was signaling him not to say
 7        A.       Yes.                                              7 anything.
 8        Q.       Did you ever miss any meetings?                   8        Q.     I'm sorry, you cut out a little bit.

 9        A.       No.                                               9 I'm to sorry to interrupt you.   Who said not to say

10        Q.       If you were to have missed a meeting             10 anything, you just cut out a little bit?
11 would anybody have gone in your place?                           11        A.     Ted Qualli was signaling, I caught him

12        A.       No.                                              12 with my peripheral, the sergeant putting his finger
13        Q.       Okay.   So let's back up again and let's         13 to his mouth as shush, don't say anything and he was
14 talk about when you were first appointed to become a             14 going like this telling him to stop talking about it,
15 commanding officer of PAL.                                       15 like don't say anything.
16                 When you started as commanding officer,          16        Q.     And just for the record you're

17 what -- what did you do?     Can you tell us again a             17 indicating with your hand towards your neck sort of
18 little bit about your first week there?                          18 making a cutting off motion?
19        A.       When I first arrived at PAL, we decided          19        A.     Yes.

20 to go visit all the PAL centers so that I can get to             20        Q.     Okay.

21 know the -- one, get to know the officers working at             21        A.     He was going like that (indicating).

22 those PAL centers; and, two, to look at facilities to            22        Q.     Mouth to lips.

23 see what's going on in terms of all, you know, all               23        A.     Right.   Right.   So Ted Qualli began to

24 the backlog.    There was a backlog of things that               24 tell me that the center -- that the kids were all
                                                          Page 20                                                       Page 22
 1 needed to be done at the centers.     So we went to do            1 doing events and the center was closed and that's why
 2 an inspection of the centers and to meet the                      2 it had a foul -- probably a foul smell.    At that

 3 officers.                                                         3 point we had to leave because of the way that I was
 4        Q.       And what happened when you were                   4 feeling and I went back a few -- and I think it was
 5 inspecting the centers?                                           5 next day or two days later and I met with Officer
 6        A.       We visited a few centers the first day.           6 Younger who was the officer assigned to that center,
 7 By the time we got to Wissinoming PAL, that center                7 at which time Officer Younger took me around the
 8 itself was in real deplorable conditions and even                 8 center with a mask on to show me the conditions of
 9 though it's my practice to learn about the unit that              9 the center and there was mold in the classroom, the
10 I'm working in and not make hasty decisions in terms             10 closet, a wall in front of the closet.    There was

11 of a command decision, I -- when I went there, I had             11 condensation in the gym.   There was puddles of water

12 no choice but to make a decision to close Wissinoming            12 in different parts of the gym, and he gave me about
13 PAL down because of the conditions of the center.                13 an inch thick of paperwork which contained memos that
14        Q.       Okay.   When did you close Wissinoming           14 he had been turning in and pictures for the previous
15 PAL?                                                             15 three years reporting the conditions of the center to
16        A.       This was when I first arrived at PAL             16 Ted Qualli, Sunny Li and the warden.
17 like that -- within that first or second week of me              17               And he told me that it used to be an

18 being the commanding officer.                                    18 active center but that the kids were getting sick and
19        Q.       Okay, and why did you close the center?          19 parents were complaining the kids were getting asthma
20        A.       The first thing when I walked into that          20 and respiratory problems and they stopped bringing
21 center I immediately got sick because there was a                21 the kids to the center, and he himself had gotten
22 strong odor of what I believe was mold and I couldn't            22 respiratory problems for working in the center.      And

23 take the smell of the building, so I had to run out              23 he gave me a copy of the paperwork and asked me can I
24 and throw up.    I was throwing up outside and I was             24 please do something about these conditions, and he


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 1 explained to me that they told him that they couldn't          1 gave --
 2 close the center down because they were getting                2         A.     To protect.

 3 funding and explained to me that the funding that              3         Q.     -- you the authority --

 4 they were getting they were telling the donors that            4         A.     Yes.

 5 it was an active center, but the center was not                5         Q.     -- to protect, that's what gives you

 6 active because only about 13 kids were attending the           6 authority to close the PAL center?
 7 center because they didn't have anywhere to go after           7         A.     And as the commanding officer of PAL, I

 8 school and that's the only reason why they were                8 have the authority to protect my officers and the
 9 coming, but the hundred plus kids that used to attend          9 children, that's priority.
10 stopped coming because of the conditions of the               10         Q.     Okay.   Before you closed -- I just want

11 center.                                                       11 to make sure I'm understanding your testimony
12               In the walkway between the gym and the          12 correctly, before you closed the center down, you
13 classroom there was a sinkhole and they had a piece           13 contacted Deputy Commissioner Paterson?
14 of wood with a rug on top so the kids could walk over         14         A.     Yes.

15 it to the classroom.                                          15         Q.     And Deputy Commissioner Paterson

16         Q.    Okay.                                           16 advised --
17         A.    So given the fact that it happened              17         A.     And I spoke to Ted Qualli and he agreed

18 three years since this was going on, I felt that I            18 at the time.
19 needed to protect the children and the staff that             19         Q.     Okay.   So you spoke to Ted Qualli --

20 entered that building; and, therefore, I made the             20 Qualli, excuse me, and you spoke with Deputy
21 decision to close the center down.                            21 Commissioner Paterson and they agreed to the decision
22         Q.    Okay.    In terms of making the decision        22 to shut the PAL center down?
23 to close the center down, is that something you had           23         A.     Deputy Commissioner Paterson agreed to

24 the authority to do as the commanding officer of PAL?         24 shut the center down.    When I spoke to Ted Qualli

                                                       Page 24                                                       Page 26
 1         A.    Before I made the decision I spoke to            1 about it he said well, let's shut it down until we
 2 Deputy Commissioner Paterson who told me that that             2 found what's going on.   But when we found out that it

 3 would be a great decision to close it down because             3 would be a lot money to correct the problems he
 4 after explaining to him what was going on he said              4 attempted to reopen up the center by undermining my
 5 that's the only thing you can do is -- the safety of           5 decision and going to the sergeants and telling them
 6 the kids and the safety of the officers are more               6 to reopen up the center without consulting me about
 7 important than funding.    So he instructed me that --         7 it.
 8 you know, he was giving me permission to shut it               8         Q.     Okay.

 9 down.                                                          9         A.     When I back to the center, the officer

10         Q.    Okay.    So I appreciate your answer, but       10 was there with a mask on trying to clean the mold so
11 I don't think you quite answered my question.    As the       11 that they could open the center.   And when I asked

12 commanding officer of PAL did you have the authority          12 him why he was trying to open up the center, he said
13 to shutdown a PAL center?                                     13 because the sergeant said to reopen or Ted Qualli.
14         A.    Yes.                                            14 And I immediately called Ted Qualli and the sergeants
15         Q.    Okay.    Was that in any writing or             15 to come and meet me at Wissinoming PAL and I
16 anything like that?                                           16 instructed the sergeant that it was the final
17         A.    It's in my oath.                                17 decision to close the center down so we could fix the
18         Q.    And can you explain further?                    18 problems to prevent the mold.   And the sergeant told

19         A.    My oath is to protect the community and         19 me that Ted said to reopen it because they don't want
20 leaving a center open knowing that it has mold and            20 to lose funding.
21 getting people sick would not have been a good                21                When Ted came to the center he said the

22 choice, a good decision.                                      22 same thing to me, he said they have a lot to lose in
23         Q.    Okay.    So in your oath -- so it's your        23 terms of funding and we can't just be closing centers
24 testimony that your oath as a police officer is what          24 down.


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 1        Q.     Okay, and after that happened, did you            1 and we were using their gym for the PAL center.
 2 discuss the reopening of the center with Deputy                 2        Q.     Okay.    To be clear, the City of

 3 Commissioner Paterson?                                          3 Philadelphia did not own that building?
 4        A.     No.    We were trying to figure -- Ted            4        A.     No.

 5 and I called the facilities team who came out, one of           5        Q.     Okay.    Were you disciplined for

 6 the Board members scolded Ted Qualli in my presence             6 shutting the PAL center down?
 7 and told him you need to be ashamed of yourself that            7        A.     No.

 8 this has been going on for three years and you didn't           8        Q.     We talked a little bit already about

 9 think it was important to address this.    And we               9 funding for PAL, while you were the commanding
10 decided that we would try to find a solution to fix            10 officer of PAL did you have any complaints about the
11 the problems because we did need a center in that              11 funding?
12 community but not under those conditions.                      12        A.     Yes.

13        Q.     You mentioned that you met with a                13        Q.     And what were those complaints?

14 facilities team, who was on the facilities team?               14        A.     We had a backlog of five years of --

15        A.     They're all Board members.                       15               (Technical difficulties.)

16        Q.     Okay.    You had also testified that             16               MS. ULAK:    Hold on.    Your attorney just

17 there is a custodian named Fran at the Wissinoming             17        dropped off.    We're going to hold on a second.

18 Center, did I understand that correctly?                       18               THE WITNESS:    Okay.

19        A.     He is the -- he's the maintenance guy            19               MS. ULAK:    We'll just go off the

20 at PAL.                                                        20        record.

21        Q.     Okay.                                            21                        * * * * *

22        A.     I believe his name -- I forget his last          22               (Whereupon a discussion was held off

23 name, I'm sorry.                                               23        the record.)

24        Q.     It's okay.                                       24                         * * * * *

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 1        A.     He works for PAL.    He works for PAL and         1               MS. ULAK:    I stopped her.    Ike, are you

 2 he's like the maintenance manager.                              2        back with us?

 3        Q.     Okay.    But to be clear, Fran works for          3               MR. GREEN:    Yes, I am now.   Can you

 4 PAL?                                                            4        back it up about five -- about three or four

 5        A.     Frank, I think it's Frank.                        5        questions I think I missed.

 6        Q.     Frank, I'm sorry, Frank works for PAL?            6               MS. ULAK:    Renee, do you mind repeating

 7        A.     Yes.                                              7        the last question I asked.

 8        Q.     Okay.    When did the Wissinoming Center          8               THE COURT REPORTER:      Off the record.

 9 reopen?                                                         9               THE VIDEOTAPE OPERATOR:     The time is

10        A.     It never reopened while I was there.             10        10:49 a.m. and we're off the record.

11        Q.     It never reopened while you were there?          11                       * * * * *

12        A.     Nope, because they -- when we brought            12               (Whereupon, an off the record

13 the experts out, they found out there was a                    13        discussion was held.)

14 structural problem coming from the outside and that            14                       * * * * *

15 the water was coming in from the outside and unless            15               (Whereupon, the requested portion of

16 that was fixed, there was -- the problem was never             16        the testimony was read back by the court

17 going to go away.    And because PAL did not own the           17        reporter.)

18 building and the church is very limited on funds they          18                            * * * * *

19 didn't have the money to fix it.                               19               THE VIDEOTAPE OPERATOR:     The time is

20        Q.     You just referenced a church, who owned          20        10:50 a.m., we are back on the record.

21 that building?                                                 21               MS. ULAK:    Okay.    I think, Renee, if

22        A.     The church owned the building.    I don't        22        you don't mind, can you just repeat my last

23 remember the names of the person who owns the                  23        question and then Ms. Cintron you can you

24 building, but a church was located in that building            24        start to answer it.


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 1                          * * * * *                                1 benefiting the kids and that we could redirect that
 2                 (Whereupon, the requested portion of              2 money to -- to, you know, to fix these facilities
 3          the testimony was read back by the court                 3 that the buildings could be in better conditions.
 4          reporter.)                                               4                I also felt that they were spending a

 5                         * * * * *                                 5 lot of money on repairing the headquarters.    They

 6                 THE WITNESS:   There was a few things I           6 spent over a million dollars to repair -- to renovate
 7          was concerned about because we had a backlog             7 the PAL headquarters building, the new PAL
 8          of going back five years of deplorable                   8 headquarters building which was a building that
 9          conditions at different PAL centers, and I               9 belonged to a PAL member who donated the building to
10          felt that they were spending money or putting           10 PAL on a temporary basis for headquarters to use.
11          money in the budget for things that were not            11                So I felt that they were spending all

12          conducive to get -- you know, they would take           12 this money for a building that eventually would go
13          from the budget to get things fixed to do               13 back to the PAL Board member as opposed to using that
14          other things that -- or support other programs          14 money for actual programs or to actual -- to fix the
15          that were not in the benefit of getting things          15 centers so that the kids could be in safer
16          corrected at PAL in terms of like the                   16 conditions.
17          conditions at the centers.                              17          Q.    And you said you made complaints about

18                 So I could give you a good example,              18 this to Ted?
19          there was -- there was a program that Nadirah           19          A.    The building was already done, but

20          McCauley and Officer Little used to plan --             20 there were still like -- another example I could give
21          they would spend thousands of dollars on                21 you --
22          designer pocketbooks.                                   22          Q.    No, Ms. Cintron, I'm sorry actually, I

23 BY MS. ULAK:                                                     23 want to back up.   My question to you was you made

24          Q.     Hang on, Ms. Cintron.   I think you cut          24 these complaints to Ted --
                                                          Page 32                                                            Page 34
 1 out again.    You had mentioned Officer Little and                1          A.    Yes.

 2 Nadirah McCauley I think was her last name?                       2          Q.    -- did you make these complaints to

 3          A.     Yes.                                              3 Ted?
 4          Q.     Can go just kind of go back and pick up           4          A.    Yes, and the Board members.

 5 from where -- from where you left off?     I think your           5          Q.    And how would you make these

 6 internet connection might be a little bit fuzzy.                  6 complaints?
 7          A.     Okay.   There was programs that they              7          A.    I would talk to him about it.   The

 8 were spending money where they shouldn't be spending              8 issue would come out of the different scenarios,
 9 money.    For instance, they were running a program               9 like, for instance, we -- there was an officer who
10 where they buy hundred of dollars of designer                    10 had one of the electrical plugs sparking fire and he
11 pocketbooks and then they would also go buy cheaper              11 had to close down the homework room because of this
12 pocketbooks at let's say, you know, like wherever                12 electrical problem and I hired an electrician or I
13 they were buying them from.                                      13 didn't hire the electrician, I spoke to Frank and
14                 Then they would have pocket bingo -- I           14 told him hey, we need to hire an electrician to
15 mean pocketbook bingo and they made sure that they               15 handle this and it took like five meetings for them
16 walked away with the designer purses and the kids                16 to say that we weren't going to hire an electrician
17 would win the cheaper purses at their little bingo               17 and they were going to send Sunny Li to inspect this
18 games.    So I thought they were abusing that program            18 outlet.    And my response was like why would Sunny Li

19 because it was to their benefit, not to the kids'                19 go there, Li is not an electrician, well, we needed
20 benefits -- benefit.                                             20 another electrician.   And when I instructed Frank to

21          Q.     And, Ms. Cintron, did you -- did you             21 hire an electrician unbeknownst to me Ted cancelled
22 make any complaints about that?                                  22 my request and redirected the team to go paint the
23          A.     Yes, I had explained to Ted Qualli that          23 hallway at the PAL headquarters because it had some
24 there was a lot of programs where it wasn't actually             24 scuff marks on it.


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 1               So it was the lack of concern and                1        A.     Deputy Commissioner Sullivan.

 2 instead of prioritizing emergency over putting it              2        Q.     And what complaints would you make to

 3 into the building to me was like crazy that he would           3 Deputy Commissioner Sullivan?
 4 choose to cancel this electrician to fix a problem             4        A.     I -- when he became deputy Paterson

 5 that could have caused a fire in that building, and            5 instructed me to go to his office and update him on
 6 he redirected the maintenance staff to go paint a              6 everything that I had to spoke Paterson about.    He

 7 wall.                                                          7 said I spoken to him, I gave him a rundown of
 8         Q.    Ms. Cintron, what building was it that           8 everything that went on at PAL and you need to go to
 9 was having electrical problems?                                9 speak to him, you know, that way he knows what's
10         A.    It was I believe -- I can't recall              10 going on now that he's requested to take over PAL.
11 which building it was, but yeah, one of the                   11        Q.     And what did you tell Deputy

12 buildings, I think it was the building that Officer           12 Commissioner Sullivan?
13 Johnson was working in, whatever building he's                13        A.     I sat down with him and I told him how

14 working in, that's the building that had the                  14 there was a constant opposition and power struggle
15 electrical outlet problem.                                    15 from Ted Qualli not wanting to or not being open to
16         Q.    I'm sorry, the building who was working         16 getting some of these problems resolved and while we
17 in, you cut out again?                                        17 needed things at the centers, he kept having parties,
18         A.    Officer Johnson was the officer that            18 planning parties that weren't necessary instead of
19 brought that to our attention.                                19 using those funds to make repairs and that's where we
20         Q.    Officer Johnson, what was his first             20 had -- you know, I had concerns.
21 name?                                                         21        Q.     And I want to be clear, these concerns

22         A.    I can't remember his first name.                22 were about the facilities and the state of the
23         Q.    Okay.                                           23 facilities, correct?
24         A.    It might be Daryl, Daryl Johnson.               24        A.     The deplorable conditions of the

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 1         Q.    Okay, yeah, I'm not trying to get you            1 facilities.   They were also about programming because

 2 to guess and I just know that Johnson is a common              2 they had a lot -- they would put a lot of money into
 3 last name in the police department, so I thought I             3 like the golfing program.    Some centers got more

 4 would try to narrow it down if we could.                       4 funding than other centers and got preferential
 5               So you would make complaints to Ted and          5 treatment in terms of getting whatever it is they
 6 the Board and did you make complaints to anybody else          6 needed done right away.
 7 about this?                                                    7        Q.     Can you explain a little bit more about

 8         A.    Yes.    When Paterson was my deputy              8 the centers that got preferential treatment?
 9 commissioner, I would give him updates about what was          9        A.     Yes, Rizzo PAL, the building had

10 going on and he was aware that I was having concerns          10 problems -- I mean the roof had problems and even
11 for the safety and the maintenance at these buildings         11 though it was not within the budget, they were doing
12 and that a lot of my concerns were not taken serious          12 a special fundraising to put a brand new roof at
13 or ignored.                                                   13 Rizzo PAL even though the roof guy told us that it
14               In this case with the electrical outlet         14 was nothing to be concerned about right away.    That

15 I felt that Ted was using his, you know, like his             15 he could patch up the section that needed patching up
16 authority to show that he had the final say on what           16 and that that would at least another 10 years before
17 gets done and what doesn't get done.                          17 they would have to put a new roof.   But they decided

18         Q.    To be clear, what was Ted's title?              18 that they would, you know, do a special fundraising
19         A.    He was director of the Police Athletic          19 to put a new roof in at Rizzo PAL.   And the fact that

20 League.                                                       20 there was a five-year backlog of, you know, bad
21         Q.    Aside from Deputy Commissioner                  21 conditions in the centers I felt that that was not
22 Paterson, did you make any complaints to any other            22 responsible of them to do.
23 City of Philadelphia employees about your funding             23               They started renovating Rizzo PAL to do

24 concerns when it came to PAL centers?                         24 a -- to do like a whole area for the equipment and


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 1 things like that, so they were remodeling Rizzo PAL         1        Q.     Was PAL funding the wrestling program?

 2 and what they said was that because the building            2        A.     Yes.

 3 belonged to PAL, they rather invest the money in that       3        Q.     Okay.   And did you make a complaint to

 4 center than to fix stuff in other centers.                  4 anybody about the fact that the wrestling program
 5        Q.       The centers that had, to borrow your        5 could travel but there couldn't be a travel
 6 phrase, deplorable conditions, were those centers           6 basketball program?
 7 that were owned by PAL or were those centers owned by       7        A.     Yes, because of the officers had

 8 other entities?                                             8 submitted several memos that wanted to do travel
 9        A.       I believe they were owned by other          9 basketball and they kept getting turned down prior to
10 entities, except for Cozen.    I think the only ones we    10 me getting there and when I sat down with Ted Qualli
11 owned was Cozen PAL and Rizzo PAL.                         11 to discuss it, his reasoning was that they were not
12        Q.       You had mentioned preferential             12 allowed to leave the state, and as I was there longer
13 treatment in programming, can you talk a little bit        13 I found that there was -- that the wrestling team was
14 more about that?                                           14 allowed to leave the state just like the golfing team
15        A.       Yes, for our Christmas parties we would    15 that's also ran out of Rizzo.
16 combine six to seven centers to have one big party,        16        Q.     Did you make complaints about this to

17 that way we narrow down the amount of parties during       17 other anybody other than Ted Qualli?
18 the holiday season while involving, you know, all the      18        A.     The Board, I told Sullivan, I told

19 centers.    But with the exception of Rizzo PAL and        19 the -- the important people on the police side as
20 University of Penn PAL where they had their own            20 well as PAL side.
21 parties and got to invite like all the kids in their       21        Q.     You say important people on the police

22 center, all the kids in the center as opposed to           22 side, who did you tell?
23 seven to 14 kids they would fit around to go to other      23        A.     My commanding officer which was

24 centers to have combined parties.    There was programs    24 Sullivan.
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 1 in some centers such as Rizzo PAL that they didn't          1        Q.     And how did Sullivan respond when you

 2 offer in other -- other centers.                            2 made these complaints to him?
 3        Q.       Like what?                                  3        A.     He didn't respond at all, he would

 4        A.       The wrestling program was one of them       4 dismiss me.   He kept me -- he let them do whatever

 5 and the wrestling program would be allowed to leave         5 they wanted to do.    He didn't want me to do anything.

 6 the state to do tournaments as well as being taken to       6 He kept undermining my command by always siding with
 7 Disney World and they -- and this wrestling program         7 the Board.
 8 was not per se a PAL program, it was ran by an              8        Q.     You said he undermined your command, to

 9 outside wrestling program in a PAL center and -- who        9 be fair he was your commanding officer, correct?
10 had their own coach.                                       10        A.     Yes.

11                 So basically they were facilitating the    11        Q.     Okay.   Were you ever disciplined for

12 outside program making it as falsely a PAL program         12 making these complaints?
13 and while the other officers wanted to have a              13        A.     No.

14 basketball league that were able to do traveling           14        Q.     Okay.

15 basketball, they were told that they couldn't have it      15        A.     I was retaliated against.

16 because PAL programs and kids could not leave the          16        Q.     Well, what do you mean by that?

17 Delaware Valley area.    So what they allowed in one       17        A.     I -- every time I complained Sullivan

18 center, they would not allow in other centers.             18 was isolating me.    He would take -- he would call my

19        Q.       But to be clear, you just testified the    19 sergeant who was my subordinate to his office and he
20 wrestling program was not a PAL program; did I             20 started planning and doing things through my
21 misunderstand you?                                         21 sergeant, Sergeant Faust, and whenever there was an
22        A.       The PAL was being ran by a coach that      22 event or something that I was planning he would call
23 was not part of PAL and they were advertising it and       23 and tell me that other people would oversee those
24 getting funding for it as a PAL program.                   24 events and those plans.    And slowly but surely he was


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 1 cutting my responsibilities and isolating me more and       1        that question, please.

 2 more.                                                       2                MS. ULAK:    I asked what the

 3          Q.   Who were other -- who were the other          3        disciplinary action was.

 4 people he would put in charge of those events?              4                MR. GREEN:    Okay, thank you.

 5          A.   When I was planning the Eagles event,         5                THE WITNESS:    The sergeant would

 6 he assigned someone from police headquarters which          6        blatantly disobey my orders to carry out

 7 was not part of PAL to handle an event that I had           7        anything and that's -- that's when I found

 8 solidified with the Eagles team -- with the Eagles          8        that he was going to see Sullivan because the

 9 team, and he told me that I would no longer oversee         9        sergeant had told me, and when I asked him why

10 that event and assigned someone from the third floor       10        was he at Sullivan's office he said well, he

11 to that event.                                             11        told me not to tell you that, you know, I was

12          Q.   What was the Eagles event?                   12        going to go see him and then that became an

13          A.   The Eagles event was a Thanksgiving          13        every week situation where the sergeant would

14 dinners and Christmas dinners as well as toys that we      14        leave to go meet with Sullivan.

15 would give to the community.   They would donate           15                And then because Sullivan told me not

16 everything, we would get together, put over a hundred      16        to take any actions against him he would

17 baskets together and we would go to the community and      17        basically -- started, you know, just being

18 give out these baskets and some of the Eagles players      18        blatantly disrespectful, blatantly disobeying

19 would go out with us to surprise those families.           19        my orders, making it harder for me to do my

20          Q.   And who did he assign to oversee that        20        job, but the sergeant was being disciplined

21 event?                                                     21        because he used to disappear and I would find

22          A.   He just called me and said that I -- he      22        out that he'd be playing golf all day on City

23 first called me and told me to give him as                 23        time with Board members.

24 explanation as to how I organized this event and once      24                He had been there for so long that this

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 1 he knew the details he told me that I would no longer       1        is what he was doing.     The sergeant was also

 2 be in charge, that he was going to assign someone           2        disgruntled because we used to get tickets

 3 from the third floor.                                       3        donated to us by the different teams which

 4          Q.   You don't know who he assigned?               4        we're supposed to be distributed to the kids

 5          A.   No.                                           5        or the officers that work PAL, but these

 6          Q.   What year was that?                           6        tickets would disappear, hundreds of tickets

 7          A.   2017, 20 -- when he first got to PAL he       7        would disappear under the, you know, under the

 8 started doing all of this.   And basically he had me        8        sergeant's oversight.

 9 taking orders from a subordinate sergeant because he        9                So I reassigned that task to someone

10 wouldn't speak to me.   He would do everything through     10        else, Officer Younger to start overseeing and

11 my sergeant and instructed my sergeant to see him          11        making sure that the -- the gifts that we were

12 behind my back.                                            12        receiving were properly distributed and the

13          Q.   And that was Sergeant Faust?                 13        sergeant was upset about that.

14          A.   Yes.   This started causing a very           14                Just a lot of things that the sergeant

15 hostile work environment because he basically gave         15        was doing that was in violation of police

16 the sergeant wings to be disrespectful and to              16        department policy.     One of them being paying

17 literally laugh at my face, you know, because the          17        the officers under the table for PAL events.

18 sergeant had been facing disciplinary action and           18                Along with Ted Qualli paying the

19 Sullivan told me that I was not to take any action         19        officers under the table for PAL-related

20 against the sergeant, so he was protecting the             20        events as opposed for the officers to get paid

21 sergeant.                                                  21        their rightful salary and go through police

22          Q.   What was the disciplinary action,            22        finance.

23 sorry?                                                     23 BY MS. ULAK:
24               MR. GREEN:   I'm sorry, can you repeat       24        Q.      I'm sorry, Ms. Cintron, I may not have


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 1 understood you, were you saying that Sergeant Faust         1         A.     They never went through police finance.

 2 and Ted Qualli were both paying officers under the          2 So a year later -- when Sullivan was in place, they
 3 table for PAL events?                                       3 wanted to do then but they still hadn't gone through
 4        A.       Yes.                                        4 finance and that was like another issue we were
 5        Q.       How was Sergeant Faust paying people        5 having.   My job there was to make sure that people

 6 for PAL events under the table?                             6 were following policy and that the instructions I got
 7        A.       He would coordinate for the officers to     7 from Commissioner Ross was to straighten things out
 8 show up at PAL events that were done during the             8 over there because there was a lot of violation of
 9 weekend.    Officers work Monday through Friday, not        9 policies that he wanted me to correct, and my job was
10 the weekends, so whenever they planned -- they had         10 to make sure that they were following policy, but I
11 several events that they planned throughout the year       11 had no idea that this was going on until I got there.
12 for them to work on the weekend and instead of going       12         Q.     You say following policy, whose policy?

13 through police finance, they were paying the officers      13         A.     Departmental policy.

14 $25 under the table to go work these events.               14         Q.     Okay.   And who has to follow

15        Q.       $25 for the whole event, sorry?            15 departmental policy?
16        A.       $25 as opposed to their rightful           16         A.     The officers.

17 salary, and I spoke to -- to Paterson about it as          17         Q.     Okay.

18 well as Sullivan about it and explained that they          18         A.     And the sergeants.

19 were going through finance, Sunny Li and Ted Qualli        19         Q.     Thank you.

20 told me that he had filed to go through finance but        20                Do PAL employees have to follow

21 the finance never got back to them, and when I spoke       21 departmental policy?
22 to someone in finance finance told me that they            22         A.     They're not directly responsible to

23 didn't have any record of PAL trying to do, you know,      23 follow departmental policy.    But as I explained to

24 like do -- I forget what it's called, to get               24 Ted and the Board, I cannot compel the officer to do
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 1 reimbursed, a reimbursement account and that they had       1 something that's in violation of departmental policy.
 2 no record that PAL ever did that.    And DC Paterson        2         Q.     I think you cut out again.    Am I

 3 called me and told me the same thing and he was upset       3 understanding correctly that you were saying you
 4 because they hadn't reimbursed the City for some            4 cannot compel an officer to do something in violation
 5 money that they owed the City and then they were            5 of departmental policy?
 6 paying them to do certain events instead of going           6         A.     Yes.

 7 through finance, paying the officer like that.              7         Q.     And just to be clear, PAL is not

 8                 So I stopped that and I said hey, we        8 subject to police department policy?
 9 need to do this the correct way, we need to go              9         A.     No, they're civilian staff.

10 through finance and establish an account, and the          10         Q.     Okay.   And civilian staff are not

11 officers by contractual agreement are not allowed to       11 subject to departmental policy?
12 work in uniform on their days off because then it's        12         A.     No.    The only thing they're responsible

13 considered on duty, and they didn't understand that.       13 for and Ted and I spoke about it was to make sure
14 They were upset that I was changing the process of         14 that whatever they were doing involving the officer
15 how they pay these officers, so that was another           15 was within the scope of our policies.
16 concern and Paterson --                                    16         Q.     So you testified that Commissioner Ross

17        Q.       Can you just back up, can you repeat       17 appointed you to be the commanding officer of PAL and
18 what you were saying?    You cut out again.                18 that you wanted -- he wanted you to straighten things
19        A.       Paterson was really upset about how        19 out.   What did he mean by that?

20 they were doing this and he said that from now on,         20         A.     He just made the comment that the

21 unless it's going through police finance that he was       21 officers over there were doing -- were doing whatever
22 going to allow the officers to work these events.          22 they wanted and that he needed me to go over there
23        Q.       Did they start going through police        23 and make sure they were following policy and
24 finance?                                                   24 complying with, you know, departmental policy and


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 1 contractual agreements and that's what I did.                     1 have been patrol.      To be honest with you, patrol

 2          Q.     You testified a few minutes ago about             2 bureau -- it's all confusing now.
 3 concerns you had about Sergeant Faust, did you ever               3        Q.       That's okay.

 4 report him to Internal Affairs?                                   4        A.       He definitely was not in charge of PAL,

 5          A.     I wrote him up several times.   I gave            5 PAL wouldn't have fell under his jurisdiction.
 6 him counseling forms and I discussed it with Paterson             6        Q.       PAL would or would not have fallen

 7 and Sullivan.    Paterson would explain to him -- and             7 under his jurisdiction?
 8 they called both sergeants to the office and told                 8        A.       Would not have fallen under his

 9 them they better straighten out.     Commissioner Ross            9 jurisdiction because I think he might have been
10 and Deputy Commissioner Paterson told them you guys              10 patrol.    He was deputy commissioner of patrol

11 need to jump on board and stop acting like fools and,            11 operations.
12 you know, you all need to start complying, you know,             12        Q.       Okay.   What was Myron Paterson deputy

13 with the lieutenant.     And I was about to write                13 commissioner of?
14 Sergeant Faust up when Sullivan took over but I was              14        A.       He was deputy commissioner -- he was

15 instructed to leave him alone.                                   15 second in command, I can't remember what he was in
16          Q.     And who you instructed you to leave him          16 charge of.
17 alone?                                                           17        Q.       When Joe Sullivan got promoted, did

18          A.     Deputy Commissioner Sullivan.                    18 Myron Paterson also get promoted?
19          Q.     Okay.   And did you -- just so we're             19        A.       No.

20 clear, you never reported him to Internal Affairs,               20        Q.       Myron Paterson stayed in the same

21 correct?                                                         21 position?
22          A.     No, I reported him to my commander and           22        A.       Yes.

23 I went to Sullivan to seek his advice and he told me             23        Q.       Did Joe Sullivan only work with PAL as

24 leave him alone, don't do nothing and leave him                  24 deputy commissioner?
                                                          Page 52                                                             Page 54
 1 alone.    By then the sergeant had been visiting                  1        A.       No.

 2 Sullivan every week and would come back and laugh                 2        Q.       Do you know what else Joe Sullivan

 3 about it and say oh, he's my buddy now loudly for me              3 oversaw?
 4 to hear.                                                          4        A.       He was deputy commissioner of patrol,

 5          Q.     When did Joe Sullivan take over PAL?              5 so he would have been in charge of all the districts
 6          A.     When he got promoted I was called                 6 and, you know, anything pertaining to patrol
 7 through Deputy Commissioner Paterson to his office                7 operations.
 8 and he informed me that Deputy Commissioner Sullivan              8        Q.       For how long did you work for Joe

 9 wanted to have oversight over PAL, and he                         9 Sullivan?
10 expressed which is fine by me because it's less work             10        A.       I would say about a year.

11 for me if he wants to do my job and take over that               11        Q.       How was your working relationship with

12 unit.    And I immediately told Paterson given the               12 Joe Sullivan?
13 conversations I had with Robert Rabena and Bernie                13        A.       We did not have a good working

14 Prazencia about Sullivan, that it would be a conflict            14 relationship because immediately when he began to
15 of interest for Sullivan to oversee PAL and Paterson             15 oversee PAL he was meeting with the Board, and every
16 reiterated, let's just see what happens.     It's a load         16 time I would go talk to him he would literally be so
17 off me and if he wants to overtake PAL -- oversee                17 dismissive about anything that I had to say that on
18 PAL, then he can have it.                                        18 one occasion he's rolling his eyes back, he's making
19          Q.     When Deputy Commissioner -- when Joe             19 all these like bothering gestures as opposed to
20 Sullivan was promoted to deputy commissioner, what               20 having some concern about the concerns I was bringing
21 did he become the deputy commissioner of, do you                 21 to him.
22 remember?                                                        22                 And he started telling me let them do

23          A.     He was deputy commissioner of                    23 whatever they want. He stopped the Memorandum of
24 operations.    I believe it was -- of patrol.   It might         24 Understanding that was supposed to be implemented


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 1 ordered by Ross and everything that they complained         1 to draft this Memorandum of Understanding.
 2 about they got, even though, you know, it was not in        2               The Memorandum of Understanding finally

 3 the best interest of the police department.                 3 came out around the same time that there was an issue
 4        Q.       What was the Memorandum of                  4 at PAL with civilian staff and a police officer.
 5 Understanding supposed to accomplish?                       5 When we went to Bernie Prazencia's office, Sullivan
 6        A.       When I first arrived at PAL, I was          6 and I, he wanted me to meet him at Ronald Rabena's
 7 there like a week or so, actually a couple of days,         7 office -- I mean Bernie Prazencia's office 6 ABC, and
 8 they brought this to my attention almost immediately.       8 we went there Sullivan looked at Ron Rabena and
 9 Sunny Li and Ted Qualli approached me with a policy         9 Bernie Prazencia and said don't worry about it, that
10 that they were trying to implement.     The policy --      10 MOU is not going anywhere as, you know, he flagged
11 when I read the policy, I understood it to be that         11 me.   It was like, oh, don't worry about it it's not

12 everything would eventually lead up to Ted's               12 going anywhere, he flagged me.   And after that I

13 decision, final decision on everything.                    13 don't know what happened with the MOU because it was
14        Q.       Hang on a second.   Can you repeat that?   14 never implemented.
15        A.       That Ted Qualli and Sunny Li brought to    15               Prior to that he told me to stay out of

16 my attention a policy that they said the Board wanted      16 it and when I called Fran Healy, before Sullivan told
17 implemented and they -- and basically when I read the      17 me to stay out of it, Fran Healy explained to me that
18 policy it basically would take the commanding officer      18 he was taken off of it also because Sullivan said
19 out of the equation, ultimately every decision would       19 that he will oversee it from that moment on and he
20 filter back to Ted Qualli as a director for final          20 was instructed not to be bothered with it.
21 say.                                                       21               So when I called Sullivan, that's when

22                 So I was concerned about the policy and    22 he told me forget about the MOU, you're no longer
23 the way that it read and I went to deputy -- I mean        23 involved in that and then the meeting took place that
24 to Commissioner Ross and Deputy Commissioner Paterson      24 I just explained.    And I don't know whatever happened

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 1 who called a meeting, they reviewed the policy and          1 to the MOU and why Commissioner Ross' orders were
 2 they told me that I was right not to sign that policy       2 being ignored.
 3 and Commissioner Ross had called in a meeting with          3        Q.     You said that Joe Sullivan flagged you,

 4 Robert Rabena, Bernie Prazencia, Ted Qualli, myself,        4 what do you mean by that, what is flagging?
 5 Deputy Commissioner Paterson and his legal advisor          5        A.     It's a gesture, you know, like when you

 6 Fran Healy.    At this meeting they discussed the           6 take your hand and kind of like what she has to say
 7 policy, Commissioner Ross said that, you know, that         7 doesn't matter.    He looked at me and said what she

 8 the way the policy read it was literally taking the         8 has to say doesn't matter, and he also -- that same
 9 police department out of the equation allowing for          9 day he said -- he also told Ron Rabena about the
10 complete oversight by PAL and -- which was not             10 transfer.   He was like don't worry about it, that's

11 conducive to the police department.                        11 going to happen.    He was being very dismissive and

12                 At which time he told his legal advisor    12 rude to me at the meeting and just letting them know
13 to draft a Memorandum of Understanding because             13 the MOU is not going anywhere and who's this kid you
14 apparently there was nothing ever in place explaining      14 want at PAL, consider it done.   You know, like he was

15 what each party was supposed to be doing.      During      15 very dismissive of me at this meeting.
16 that meeting they also went over my job as the             16        Q.     Okay.   Ms. Cintron, you've kind of said

17 commanding officer and Ted Qualli's job as a director      17 a lot of things in the last few minutes of your
18 and how we were supposed to be working together and        18 testimony so I'm going to have to kind of back up,
19 that this policy would literally take me out of the        19 and I'm sorry because I think there's going to be a
20 equation.                                                  20 lot of jumping around here.
21                 So he ordered that Memorandum of           21               Okay.   You had testified that the

22 Understanding.    It was being processed.    It took a     22 impetus for the MOU was that there was going to be
23 long time.    They were working with the City              23 this policy that PAL had proposed, that they wanted
24 Solicitor, I believe the person prior to you and --        24 you to sign off on and it would give them complete


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 1 oversight of PAL and it was not conducive to the                 1        Q.      Okay.

 2 police department.      Did I get that correct?                  2        A.      But if Ted and I are supposed to be in

 3          A.     Right, because the way that it was               3 charge of PAL, my question is why do I have to go to
 4 structured, all the decisions, the final decisions               4 one of his subordinate staff to get permission only
 5 would line with Ted Qualli.                                      5 for Ted to have final authority anyway?
 6          Q.     And what decisions were those; what              6        Q.      Okay.

 7 types of decisions?                                              7        A.      It should have been my decision and his

 8          A.     According to the policy it would have            8 decision as final authority.
 9 been everything because every department would have              9        Q.      Okay.   And this is for things like

10 gone for his final say.                                         10 programming?
11          Q.     Well, and I know that -- I understand           11        A.      Everything PAL according to what they

12 what you're saying but I need you to be specific, you           12 told us we were supposed to be doing.
13 say everything, is that funding?                                13        Q.      Okay.   Again, I ask for things like

14          A.     It was everything, programs.                    14 programming, right?
15 Everything that we did at PAL would have been                   15        A.      Yes.

16 filtered through his staff ultimately him being the             16        Q.      Is that for things like how -- where to

17 final decision maker.      So in essence as the                 17 allocate a budget?
18 commanding officer I had people subordinate staff to            18        A.      We -- yes.   Like budget, everything,

19 me that I would have to go to to get permission to do           19 everything PAL.
20 stuff.                                                          20        Q.      Is that for things like how to --

21          Q.     Okay.                                           21 Ms. Cintron, I'm asking a question.
22          A.     Ted, at his level, could make the final         22                Is that for things like approving

23 decisions.    So even if I requested anything it would          23 capital improvements to a building?
24 have gone to Ted for final decisions.                           24        A.      It had to do with everything pertaining

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 1          Q.     You say a subordinate staff, do you              1 to PAL, the finances, programming, what we're going
 2 mean PAL civilian staff?                                         2 to do this year, what fundraisers we're going to do,
 3          A.     It would have been PAL civilian staff            3 how we're going to do them.
 4 who have a lesser authority within the structure that            4        Q.      Is there any documentation or

 5 I do, yes.                                                       5 literature that you received when you were appointed
 6          Q.     Okay.    But to be clear, PAL civilian           6 commanding officer of PAL that laid out your job
 7 staff are not employed by the City of Philadelphia?              7 description and duties as commanding officer?
 8          A.     No.                                              8        A.      No, but when they try to implement that

 9          Q.     And they're not police officers,                 9 policy, that's what the MOU was supposed to do.      It

10 correct?                                                        10 was supposed to outline who had authority over what.
11          A.     No.                                             11        Q.      Okay.

12          Q.     But so --                                       12        A.      And it was discussed at the meeting

13          A.     What I'm trying to explain is that, I'm         13 that Ted and I had equal authority, not him more than
14 in charge -- for instance, if I'm charge of the                 14 me because he worked for the Board.   We had equal

15 programs team, why would I go downward to get                   15 authority over all things PAL which Commissioner Ross
16 authority from someone to do something that I'm                 16 made very clear at the meeting and it was supposed to
17 trying to do who's reporting to me on that team even            17 be implemented in the Memorandum of Understanding.
18 though they're civilians they're working with me on             18 They did not want the Memorandum of Understanding to
19 that programs team.                                             19 take place and they were really upset about it.
20          Q.     Okay.    The programs team you testified        20        Q.      You said Commissioner Ross at the

21 though, they're not City of Philadelphia employees,             21 meeting, what meeting?
22 right?                                                          22        A.      The meeting where he called Bernie

23          A.     There were some officers and some               23 Prazencia, Ron Rabena, Ted Qualli, myself, his legal
24 civilians.                                                      24 advisor about the policy they were trying to


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 1 implement.                                                       1 correct to you?
 2        Q.      When did that meeting take place?                 2        A.     No.

 3        A.      2017.                                             3        Q.     So what had happened in this incident,

 4        Q.      And where did it take place?                      4 do you recall?
 5        A.      Commissioner Ross' office.                        5        A.     I was in my office and I heard yelling

 6        Q.      And were Ted Qualli, Ron Rabena and               6 between Chase Trimmer and Officer Klayman and when
 7 Bernie Prazencia all physically present at that                  7 I -- we came out of the office, they were arguing and
 8 meeting?                                                         8 I instructed both of them to stop, which they did and
 9        A.      Yes.                                              9 basically they were arguing over the use of a
10        Q.      You testified about an issue at PAL              10 computer.
11 between civilian staff and a police officer, what was           11        Q.     You said we, were you with somebody?

12 the issue?                                                      12        A.     Yes, I was in a meeting -- I was in a

13        A.      They began fighting over the use of a            13 meeting with Sergeant Faust and Cassandra Harris
14 computer -- a computer.                                         14 about an upcoming event.
15                (Technical difficulties.)                        15        Q.     You testified you were a meeting with

16 BY MS. ULAK:                                                    16 Sergeant Faust was that?
17        Q.      I'm sorry, you have to repeat that.              17        A.     Yes.    Sergeant Faust was in the office

18        A.      They were arguing about the use of a             18 and Cassandra Harris was in my office and we were
19 computer.                                                       19 talking about an upcoming event.   She was filling --

20        Q.      Who is the police officer?                       20 Cassandra Harris was filling us in about an event
21        A.      Officer Klayman and Chase Trimmer.               21 that was taking place.
22        Q.      When did that happen?                            22        Q.     You heard yelling and you went to see

23        A.      Also 2018.                                       23 what was happening?
24                MS. ULAK:    At this point I like to             24        A.     Yeah, I came out of the office to find

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 1        request a five-minute comfort break if that's             1 out what was going on.
 2        possible.                                                 2        Q.     And how did the fight resolve?

 3                MR. GREEN:    I'm sorry.                          3        A.     They argued.   I told them be quiet,

 4                MS. ULAK:    I would like to request a            4 they did, stop arguing.    And they had like a few

 5        five-minute comfort break.                                5 final words and then I called -- I told the sergeant
 6                MR. GREEN:    Oh, sure.                           6 to deal with the officer and pull him in to my
 7                MS. ULAK:    I think our court                    7 office.   I called Ted Qualli to discuss the situation

 8        reporter would like one.                                  8 with him because it was involving one of his staff, a
 9                MR. GREEN:    Oh, absolutely.                     9 person that reported to him, and Ted Qualli was not
10                THE VIDEOTAPE OPERATOR:      The time is         10 answering my phone calls.
11        11:39 a.m.     We are off the record.                    11               And the next thing you know I'm getting

12                         * * * * *                               12 a call from the deputy because the Ted Qualli spoke
13                (Whereupon, a brief recess was taken.)           13 to him directly without discussing anything with me
14                         * * * * *                               14 and he ends up calling a meeting with his staff
15                THE VIDEOTAPE OPERATOR:      The time is         15 telling them to go home because Officer Klayman
16        11:54 a.m. and we are back on the record.                16 carries a gun and he basically prompted -- I wouldn't
17 BY MS. ULAK:                                                    17 say hysteria, but like people that were not even
18        Q.      Okay.    Ms. Cintron, before we took a           18 there or were aware of the incident were -- they were
19 break you had mentioned -- excuse me, I'm sorry.                19 all sent home.
20 Before we took a break you had mentioned an issue               20        Q.     Okay.   Did that all happen on the day

21 that occurred between a police officer and a power              21 of this incident?
22 play over the use of a computer and you had testified           22        A.     Yes.

23 that it had happened in 2018.       If I submitted to you       23        Q.     Who is David Klayman?

24 that this may have happened in 2017, would that seem            24        A.     He used to be my assistant.


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 1        Q.      Okay.   And for whom did he work?                 1         organized events, he was on the programs team

 2        A.      He was a police officer.                          2         and things of that nature.   He handled all the

 3        Q.      And what was your relationship with               3         paperwork that I had to turn in to the City,

 4 him?                                                             4         like if we had any memos to do, if we had any

 5        A.      He worked for me.      He was my assistant.       5         -- anything like that to do, overtime.    He

 6        Q.      What did he do for you as your                    6         managed overtime, making sure that it was on a

 7 assistant?                                                       7         rotating basis.

 8        A.      He would get crime data for me, run               8 BY MS. ULAK:
 9 errands for PAL, coordinate events if the --                     9         Q.     You say he managed overtime making sure

10                (Technical difficulties.)                        10 it was on a rotating basis, was he the one that would
11 BY MS. ULAK:                                                    11 assign overtime to the officers?
12        Q.      Hang on.    Hang on.    Hang on.                 12         A.     No.

13                Can you repeat that?                             13         Q.     Okay.

14        A.      The whole thing?                                 14         A.     The sergeant would do that, but when I

15                MS. ULAK:    Let's go off the record for         15 got there it was not equally distributed, so his job
16        a second.                                                16 was to check the reports to make sure that we were on
17                THE VIDEOTAPE OPERATOR:      The time is         17 a rotating basis and that everyone got equal amount
18        11:58 a.m. We are off the record.                        18 of overtime.
19                        * * * * *                                19         Q.     Okay.   When did he join PAL?

20                (Whereupon a discussion was held off             20         A.     A few months after I arrived.

21        the video record only.)                                  21         Q.     Was somebody that he brought on or was

22                        * * * * *                                22 he brought into PAL by somebody else?
23                MS. ULAK:    Ms. Cintron, you're having          23         A.     I spoke to -- Paterson told me I could

24        significant hearing issues.       Is everybody else      24 have an assistant and he told me to pick someone and
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 1        having issues with this?                                  1 because he was worked at the 25th District and did a
 2                MR. GOLDEN:    I don't see the witness            2 great job there I picked him as second choice because
 3        right now.   She's frozen.                                3 my first choice couldn't come.
 4                MR. GREEN:    Maybe if she dials in, that         4         Q.     Who was your first choice?

 5        might improve the overall signal from her end.            5         A.     Mulholland, Officer Jimmy Mulholland

 6                MS. ULAK:    That might be a better               6 (ph.)
 7        option.                                                   7         Q.     And why couldn't he come?

 8                        * * * * *                                 8         A.     Because his wife was a nurse at

 9                (Whereupon, a brief recess was taken.)            9 St. Christopher's Hospital, which is in close
10                        * * * * *                                10 proximity to the 25th District, they had the same
11                THE VIDEOTAPE OPERATOR:      The time is         11 hours and they would travel to work together and
12        12:07 p.m. and we are back on the record.                12 leave together, so when he found out that PAL worked
13                MS. ULAK:    Ms. Schumann, do you mind           13 evening hours or afternoon hours, he told me he
14        rereading my last question?                              14 couldn't do it.   He couldn't change his shift.

15                         * * * * *                               15         Q.     Okay.   And when Officer Klayman joined

16                (Whereupon, the requested portion of             16 that was when you were able to ensure that overtime
17        the testimony was read back by the court                 17 was being distributed on a rotating basis?
18        reporter.)                                               18         A.     Yeah, I would give him assignments.

19                        * * * * *                                19 Since we have so many events and so many programs
20                THE WITNESS:    He was the administrative        20 going on and I had to visit centers and all of that,
21        assistant.   He primarily worked on the mapping          21 he would monitor that stuff for me like an
22        analysis, crime data, getting -- he ran some             22 administrative assistant would.
23        PAL-related, you know, runs, picked stuff up,            23         Q.     Okay.   What hours did he work for PAL?

24        he organized some of the -- helped some of the           24         A.     It depends.   PAL -- his hours were in


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 1 the morning like eight to five or nine to five,                    1 transfer list to see if this individual was on the
 2 whatever it was, and -- but if I had to switch to                  2 list.   He was not on the list, so I told him have him

 3 night work because we had events that he was                       3 submit his paperwork and when I looked into this
 4 assisting with, he would work in the afternoons as                 4 individual he had less than two years on the job.       He

 5 well.    So it just depends like what was going on at              5 did not have the points necessary to transfer and he
 6 PAL.                                                               6 did not have the experience nor was he doing anything
 7          Q.     Okay.    Was he able to work flexible              7 in the community to indicate that he was
 8 hours?                                                             8 community-oriented which is required being at PAL.
 9          A.     No, he wasn't able to work flexible                9         Q.    Ms. Cintron, I'm sorry to interrupt you

10 hours.    He went by the schedule, primarily my                   10 but I just want to ask this question, what is this
11 schedule which was all kinds of different times                   11 individual's name?
12 because he was my assistant.                                      12         A.    It's in the paperwork that we submitted

13          Q.     Did he essentially work when you                  13 for discovery, but I can't recall his name right now
14 worked?                                                           14 to be honest with you.
15          A.     Yes.    And sometimes when I worked the           15         Q.    Okay.   All right.

16 afternoon, he will work the morning because he had                16         A.    I know he was in the 17th -- I know he

17 stuff to do in the morning.      So it just depends on            17 was in the 17th District.
18 what was going on in the unit.                                    18         Q.    All right.    Continue.

19          Q.     Okay.    After the incident with the              19         A.    So I explained to Ron Rabena that it

20 civilian, did he continue working at PAL?                         20 would be hard for me to transfer him in and it would
21          A.     No, Sullivan had him transferred.                 21 be unfair for me to transfer him in given that he did
22          Q.     Where was he transferred to?                      22 not meet the criteria for transfer.     Even though I

23          A.     Neighborhood services.                            23 told him that he would still ask me every time I saw
24          Q.     Okay.    Did Sullivan request that you            24 him, come on lieutenant, do me that favor, have him
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 1 transfer him out?                                                  1 transferred in and what have you, and I told him I
 2          A.     No, he just did it.                                2 don't have the authority to transfer someone in
 3          Q.     Okay.    To your knowledge, was he ever            3 without properly -- without showing that they met the
 4 disciplined for the incident with the civilian?                    4 criteria and that it was beyond -- you know, above my
 5          A.     I'm not sure if he was disciplined or              5 level to do something like that.
 6 not.                                                               6               At what which time I got a call from

 7          Q.     To your knowledge, does he still work              7 Captain Francis which is -- which was at the time, I
 8 for the police department?                                         8 don't know if she's still there, the captain of the
 9          A.     To my knowledge, he graduated from                 9 17th District and she said -- she mentioned Ron
10 college and he left the job shortly thereafter.                   10 Rabena, that Ron Rabena had called her, that this
11          Q.     Earlier you had testified about                   11 officer worked for her and that he was a good kid and
12 somebody having a desire to bring an officer into                 12 she was recommending him, and I explained to her the
13 PAL.                                                              13 same thing I explained to Ron Rabena.
14          A.     Yes.                                              14               The next thing I know my officer from

15          Q.     And I wanted to know if you could                 15 the 17th District PAL called me and asked me why was
16 elaborate on that again.                                          16 this kid working at the center -- assigned to the
17          A.     From the moment I met Ron Rabena, he              17 center by Captain Francis which I didn't know that
18 was asking me to do him a favor and have an                       18 this officer was working there.
19 individual transferred into PAL.      First he said it            19               So I spoke to the officer and I said

20 was a relative, then he said it was a family friend,              20 no, he was basically asking me did I approve for this
21 so I don't know exactly what's the relationship there             21 to happen and I said no, I had no idea that she was
22 because he said different things at different times               22 assigned there.   And when I called Captain Francis, I

23 pertaining to what kind of relationship they had.                 23 explained to her that all the officers at PAL because
24                 I told him that I would look into the             24 they're dealing with kids they have to go through a


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 1 background check and that this officer would not fall             1        transfer this individual if he wanted to, so

 2 under any PAL protection or -- because they're                    2        that's what you're going to have to do because

 3 working there and they're not supposed to even be                 3        I don't have the authority to do that.    And he

 4 there, and I told her that she needed to reassign her             4        called -- I think later on when I saw

 5 officer back -- back to her district.      Basically she          5        Commissioner Ross at an event he mentioned

 6 was carrying the officer as being at work, but in                 6        that Lieutenant Clark had called him, but he's

 7 reality she was sending him to work at the PAL center             7        like I don't want to hear that nonsense, you

 8 every day.                                                        8        know, if he don't qualify to go over there

 9        Q.      You say Captain Francis, what's Captain            9        he's not going.

10 Francis' first name?                                             10                And when Sullivan -- later on I spoke

11        A.      I don't know her first name.     I know           11        to Sullivan about it and Sullivan didn't say

12 her as Captain Francis.                                          12        nothing when me and him spoke about it until

13        Q.      Okay.   And to be clear, you don't                13        we went to a meeting and we were supposed to

14 recall the name of the individual even though that               14        discuss the MOU and that I mentioned earlier,

15 person was being placed in PAL centers to work,                  15        the same meeting that I mentioned earlier and

16 correct?                                                         16        at that time he told Ron Rabena in my presence

17        A.      Yeah, I can't recall now, you know,               17        about that transfer, that kid you want, we

18 it's been a while.                                               18        need new kids in the unit.    He said consider

19        Q.      Okay.                                             19        it done.

20                (REQUEST)                                         20                And that's when he was becoming really

21                MS. ULAK:    I'm just going to make a             21        disrespectful and, you know, doing all these

22        request on the record that somebody provide me            22        gestures with his hand as to disregard what I

23        with the name of that individual.      I don't see        23        had to say.

24        it in my file, but I know that this matter had            24 BY MS. ULAK:
                                                          Page 76                                                          Page 78
 1        been transferred to me, so, you know, it's                 1        Q.      Okay.   I want to unpack this a little

 2        very possible it was sent earlier and I just               2 bit more.
 3        don't have it.    So I would just kind of                  3                Before Joe Sullivan became deputy

 4        request that Ike's office resend it to me,                 4 commissioner and took over PAL, were you getting
 5        okay?                                                      5 pressure to bring this individual, whose name you
 6                MR. GREEN:    I don't have it -- I mean I          6 can't remember, into PAL?
 7        don't have it.                                             7        A.      Yes.

 8                MS. ULAK:    Okay then.   All right.               8        Q.      Okay.   Did that start pretty early into

 9                THE WITNESS:    So after I spoke to                9 your tenure as commanding officer at PAL?
10        Captain Francis, I get a call from Council                10        A.      Yes.    However, Sullivan had -- once he

11        President Daryl Clark who also mentioned Ron              11 came in he informed the PAL -- the PAL, I mean,
12        Rabena, that Ron Rabena had given him a call              12 Bernie Prazencia and Ron Rabena that he would make it
13        and asked him to call me about this                       13 happen.   He abused his authority and said he would

14        individual, and I explained to him the same               14 make it happen regardless of the decision I had made.
15        thing that I explained to Rabena, as well as              15        Q.      Okay.   And just to be clear there was

16        Captain Francis and he said to me you need to             16 no question pending, but what I'm going to ask you
17        transfer this kid or I'm going to start making            17 now is, for approximately two years while you were
18        some calls about you starting with                        18 commanding officer of PAL, you reported to Deputy
19        Commissioner Ross and he was pretty much --               19 Commissioner Paterson; is that correct?
20        the way I took it was a threat that I was                 20        A.      Yes.

21        going to be blackballed, you know, or whatever            21        Q.      Okay.   And it was during this time that

22        if I didn't do this favor.                                22 you were getting pressure to move this individual
23                And at that point I told him, well,               23 into PAL?
24        Commissioner Ross would be in the position to             24        A.      During the time -- it started with


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 1 Paterson.     I can't pinpoint the date, but it started             1         A.     Yes.

 2 when I was working -- when Paterson oversaw PAL.         I          2         Q.     And so that would have been over a year

 3 wouldn't say it was two years, like I can't pinpoint                3 after Joe Sullivan took over as the deputy
 4 the date, but it started when I reported to Paterson.               4 commissioner overseeing PAL, am I understanding that
 5          Q.      Okay.    And then when Sullivan took               5 correctly?
 6 over --                                                             6         A.     The meeting took place as soon as he

 7          A.      And I don't mean to cut you off, but               7 went to PAL.
 8 when I explained to Paterson what was going on, he                  8         Q.     Okay.   So --

 9 said if he doesn't qualify to come to PAL then                      9         A.     I don't know -- I can't speak for when

10 they -- they better not call me about it, you know.                10 the kid was transferred because I don't know the
11          Q.      Yes.    And if I'm understanding your             11 date.
12 previously testimony correctly after you Council                   12         Q.     Well, I'm not asking you for the date.

13 President Clark called you, Commissioner Ross also                 13 I'm asking you if it would have been over a year
14 agreed with the fact that he did not qualify and to                14 between that first meeting taking place and when this
15 not be transferred in; is that correct?                            15 individual was transferred into PAL?
16          A.      They didn't agree -- well, I won't                16         A.     That's what I'm saying, I was out for

17 say -- what I'm trying to explain is that he didn't                17 almost a year, so I don't know where in that process
18 qualify which is why I couldn't make -- put in                     18 did he transfer in.    It could have been a year, it

19 paperwork to have him transferred in because it would              19 could have been six months after I went on leave, I
20 have been declined from the upper ranks.       When I              20 don't know.
21 spoke to Paterson who informed Ross, they told me                  21         Q.     Did you go on leave a year after Joe

22 that if the kid didn't qualify then not to worry                   22 Sullivan took over PAL?
23 about it because I wasn't doing anything wrong.                    23         A.     Maybe approximately, yeah.

24                  It wasn't until Sullivan got into                 24         Q.     So, again, would you agree with me that

                                                            Page 80                                                           Page 82
 1 office -- became oversight over PAL that he said                    1 it had to have been at least a year between that
 2 basically it doesn't matter what the lieutenant has                 2 first meeting in which you testified that Joe
 3 to say, we need new people at PAL and don't worry                   3 Sullivan said that this individual would be
 4 about it, consider it done.       He told Ron Rabena.               4 transferred into PAL and when that individual was
 5          Q.      And did that individual get moved into             5 actually transferred into PAL, it would have been at
 6 PAL?                                                                6 least a year, right?
 7          A.      From my understanding, yes, after                  7                MR. GREEN:    Objection.   She's trying to

 8 enough -- or when I went out on leave.                              8         avoid guessing.

 9          Q.      Okay.    So that was over a year later;            9                MS. ULAK:    I would prefer -- I would

10 is that right?                                                     10         prefer you not offer a speaking objection.

11          A.      I don't know the dates, so I don't know           11                You can answer the question.

12 the date that he got transferred in.                               12                MR. GREEN:    If you know.

13          Q.      Okay.    Let me ask it this way, you              13                THE WITNESS:    I don't know when he got

14 worked for Joe Sullivan for approximately a year,                  14         transferred in, so I would say maybe a year,

15 right?                                                             15         yes, I don't know.

16          A.      Uh-huh.                                           16 BY MS. ULAK:
17          Q.      Yes?                                              17         Q.     Okay, fine.     After that first meeting

18          A.      Yes.                                              18 where Joe Sullivan said that that individual would
19          Q.      And after you went out on leave, this             19 get transferred into PAL, did you ever discuss it
20 individual transferred into PAL, right?                            20 with Joe Sullivan?
21          A.      Some time between the time that I went            21         A.     I had discussed it previous -- previous

22 on leave and had to leave the job, yes.                            22 to that meeting with him so he knew why I couldn't
23          Q.      Is that between when you went out on              23 put the paperwork in to have him transferred.
24 leave and when you retired?                                        24         Q.     After that meeting did you discuss it


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 1 again?                                                            1        A.      Or I would leave it in the office to

 2          A.     No, because he made it very clear that            2 avoid carrying two phones.
 3 that was his decision.                                            3        Q.      For how long was your City issued phone

 4          Q.     Okay.    In your discussion with him              4 not working?
 5 before the meeting when you said this is why I can't              5        A.      It would get like -- like freeze up on

 6 transfer him in, did he have anything to say in                   6 me, so sometimes it would work, sometimes it wouldn't
 7 response to that?                                                 7 work which is why I took it the first time to get
 8          A.     No.                                               8 fixed, then they gave it back to me and it was still
 9          Q.     Were you disciplined at all for not               9 doing the same thing so I took it back to get it
10 transferring this individual in?                                 10 replaced.
11          A.     No.                                              11        Q.      I'm going to pull up a document, just

12          Q.     While you were the commanding officer            12 give me a one second here.
13 of PAL, did you have a City issued cell phone?                   13                We'll mark this as City-1.   Hang on a

14          A.     Yes.                                             14 second.
15          Q.     Were there ever any issues with your             15                What is happening here?   I'm sorry, I

16 connectivity with the City issued cell phone?                    16 apologize.
17          A.     Yes.                                             17                All right.   Ms. Cintron, are you able

18          Q.     Can you tell us a little bit about               18 to see my screen?
19 those issues?                                                    19        A.      Uh-huh.

20          A.     The phone would not work and I had a             20        Q.      Yes?

21 switch it twice.      Like there was an issue with the           21        A.      Yes.

22 line, I don't know what was going on, but I had to               22        Q.      Great.    So we're going to mark this

23 turn in the phone because it was not working                     23 document as City-1, I will submit to you that this
24 properly.                                                        24 document is four pages, it is Bates marked Sullivan
                                                          Page 84                                                             Page 86
 1                 I took it once before Sullivan to get             1 239 through Sullivan 242.
 2 fixed, they gave it back to me and when Sullivan took             2                I just want to pull your attention to

 3 over it was still not working properly so I had to                3 the first page in this document marked Sullivan 239,
 4 get a new one.                                                    4 and I'm just going to give you a minute to read this
 5          Q.     Okay.    Did you have any issues getting          5 e-mail.
 6 it replaced?                                                      6        A.      Okay. (Witness complies.)

 7          A.     No, once I took it the second time they           7        Q.      And you can tell me you're done reading

 8 replaced it.                                                      8 it.
 9          Q.     If your City issued phone wasn't                  9        A.      Okay.

10 working, how were people going to be able to reach               10        Q.      Okay.    So having looked at this e-mail

11 you?                                                             11 would you agree that this is an e-mail from Joe
12                 MR. GREEN:    Can you repeat that?               12 Sullivan to you?
13                 MS. ULAK:    I'm sorry, I don't think I          13        A.      Yes.

14          asked very well.                                        14        Q.      And looking at this e-mail in the

15 BY MS. ULAK:                                                     15 second paragraph it states you responded that your
16          Q.     If your City issued cell phone was not           16 City phone has been inoperable for some time and you
17 working, was there another way for people to reach               17 used your private phone while working.
18 you?                                                             18                Did I read that correctly?

19          A.     No.                                              19        A.      Yes.

20          Q.     Did you have a personal cell phone?              20        Q.      Okay.    So would you use your private

21          A.     I have a personal cell phone but I               21 cell phone while you were working if your City phone
22 would leave that at home because I had the City phone            22 was not working?
23 while I was at work.                                             23        A.      My -- my cell -- when the phone was

24          Q.     Okay.                                            24 acting up I had no choice to use my private phone to


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 1 make police-related phone calls.                                  1          the -- to the last deposition.

 2          Q.     Okay.                                             2 BY MS. ULAK:
 3          A.     But I never knew when the phone was               3          Q.     And prior to going to your last

 4 going to freeze up on me so sometimes I didn't have               4 deposition, had you ever seen this letter before?
 5 it on me because I usually keep it in the office.                 5          A.     Yes, they showed it to me at Internal

 6          Q.     Okay.                                             6 Affairs.
 7          A.     But if it was available I would use it.           7          Q.     Okay.   Do you know who wrote this

 8          Q.     Okay.   I'm just going to scroll through          8 letter?
 9 this, I might be done with this.                                  9          A.     Nope.   No, I'm sorry.

10                 You know, that's all I have on this.             10          Q.     Okay.   Do you have any speculation as

11 Thank you for clarifying your testimony on this.                 11 to who wrote this letter?
12          A.     Okay.                                            12          A.     No.

13          Q.     I'm going to stop sharing my screen.             13                 MR. GREEN:    Objection.

14                 Now, Ms. Cintron, I'm actually going to          14                 THE WITNESS:    No.

15 pull up a document that we looked at your first half             15 BY MS. ULAK:
16 of your deposition.     This was previously marked as            16          Q.     Okay.   I'll take this letter down.

17 PAL-4.                                                           17                 I'm now going to turn your attention to

18          A.     Okay.                                            18 what was previously marked at your deposition as
19          Q.     I'm just getting it handy.                       19 PAL-2.
20                 Ms. Cintron, do you recognize this               20                 MR. GREEN:    PAL-2?

21 document?                                                        21                 MS. ULAK:    Yes, it's the amended

22          A.     Uh-huh.                                          22          complaint.

23          Q.     Yes?                                             23                 MR. GREEN:    Okay.

24          A.     Yes.                                             24 BY MS. ULAK:
                                                          Page 88                                                             Page 90
 1          Q.     Okay.   And you see at the bottom --              1          Q.     Ms. Cintron, can you see my screen

 2          A.     I have to read -- I have to read it               2 here?
 3 though.                                                           3          A.     Yes.

 4          Q.     Yeah, of course.    I'm sorry, you tell           4          Q.     Okay.   So this is the amended

 5 me if you need me to scroll, okay.                                5 complaint.    It was marked as PAL-2, we looked at it

 6          A.     Okay.                                             6 at your previous deposition, I am going to bring you
 7          Q.     I'm going to keep scrolling so you get            7 down to paragraph 54 of this complaint, so you're
 8 to see --                                                         8 going to see me scroll kind of quickly.        And I just

 9          A.     Wait a minute, go back up a little bit.           9 want you to take a moment -- I'll take a moment and
10 Can you go up a little bit?                                      10 highlight on here that you read paragraph 54.
11          Q.     Yeah, sure.                                      11          A.     Uh-huh.   Do you want me to read it?

12          A.     Right there.                                     12          Q.     No.    No, I want to give you the chance

13          Q.     Okay.                                            13 to read it and then you tell me when you're done.
14          A.     Okay.   This is the letter that somebody         14          A.     (Witness complies.)    Okay.

15 sent that you showed me the first time?                          15          Q.     Okay.   So looking at this paragraph it

16                 MR. GREEN:    Sharon, can -- Sharon, can         16 says as she reviewed the anonymous letter, plaintiff
17          you go back to the first -- the very first --           17 immediately recognized the letter contained subject
18          the beginning of this particular -- okay.     I         18 matter which was actually provided to her -- by her
19          see it now.                                             19 to Sullivan exclusively.
20                 MS. ULAK:    Again, this was marked as           20                 Are you able to explain what that means

21          PAL-4 at the October 28th deposition.                   21 in your complaint that you filed?
22                 MR. GREEN:    Okay, right, okay.                 22          A.     When I looked at the letter I

23                 THE WITNESS:    This looks like the              23 immediately noticed that there was the officers and
24          letter that they showed me when I went to               24 the persons mentioned in that letter were the


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 1 disgruntled officers that I was dealing with and I               1        Q.     Okay.

 2 had shared all of this information with Sullivan and             2        A.     And only to Sullivan.

 3 ironically they're the same people that are in this              3        Q.     I also see a mention of Sergeant

 4 letter after Sullivan called Sergeant Faust to his               4 Pascucci in this letter.   Had you ever discussed

 5 office.                                                          5 Sergeant Pascucci with Joe Sullivan?
 6        Q.      Okay.   So when you testified -- and I            6        A.     Yes, I had told Sullivan that I had

 7 just want to be clear, you testified you do not know             7 sent Sergeant Pascucci to inform Officer Little that
 8 who wrote that letter?                                           8 she needed to refrain from talking about an ongoing
 9        A.      Nope.                                             9 investigation, but the letter seems like it was
10        Q.      Okay.   And you don't have an idea of            10 something totally different.
11 who might have written the letter, right?                       11        Q.     Okay.   What was the ongoing

12        A.      Nope.   I just noticed it was                    12 investigation?
13 disgruntled officers mentioned in that letter that I            13        A.     I thought it was because of the --

14 had mentioned to Sullivan.                                      14 originally I thought it was because of the argument
15        Q.      Okay.                                            15 between the civilian and the officer, but then I got
16        A.      Including the sergeant that I wanted to          16 a subpoena saying that I was the target of an
17 write-up for what we discussed previously that he               17 investigation.
18 told me to leave alone.                                         18        Q.     Well, I'm asking you what was the

19        Q.      Okay.   I'm going to pull this down and          19 ongoing investigation that you had Sergeant Pascucci
20 we're going to pull up PAL-4 again.    Okay, so I'm             20 talk to Officer Little about?
21 going to bring your attention back to PAL-4 and what            21        A.     Like I said originally I thought it was

22 I'm going to ask you to do is tell me what in PAL-4             22 the investigation that we started that we reported to
23 is information that you provided exclusively to Joe             23 Internal Affairs about officer -- the officer and the
24 Sullivan?                                                       24 civilian having an argument, but later on I received
                                                         Page 92                                                       Page 94
 1        A.      The message to Officer Little is                  1 a subpoena that I was the target, so that's what I
 2 that -- what's in there, in this letter is                       2 was referencing to, not about the investigation
 3 inaccurate, but I did mention to him, to Sullivan                3 between the civilian and Officer Klayman because
 4 that I had to have the sergeant speak to Officer                 4 Officer Little -- it was brought to my attention by
 5 Little because it was an ongoing investigation and               5 several officers that Officer Little was going around
 6 according to policy they're not supposed to be                   6 talking about this investigation to the rest of the
 7 discussing an investigation.                                     7 officers.
 8                But what's in the letter is inaccurate            8        Q.     And what was she saying about the

 9 because I didn't say a lot of the stuff that's -- I              9 investigation?
10 didn't say what's in this letter.                               10        A.     She was trying to get them involved in

11        Q.      Okay.                                            11 the investigation by telling them to say things that
12        A.      So it seems to me that Officer Little            12 weren't true and they told her like don't get us into
13 because she had been reprimanded previously and was             13 that because that has nothing to do with us, and
14 upset about it, made it up -- made up some lies in              14 that's why I told the sergeant tell her that this is
15 this letter, if it was her, I don't know.                       15 an ongoing investigation, that she can't be
16        Q.      Okay.   Saying if it was her do you              16 encouraging people to tell lies or whatever, but I
17 think it could have been Officer Little who wrote               17 didn't tell him to tell her all of that.     I just told

18 this letter?                                                    18 him to tell her that this is an ongoing
19        A.      I don't know if it was her, but I                19 investigation, that she needs to refrain from talking
20 noticed that she -- that what she's saying in the               20 about an ongoing investigation.
21 letter or whoever wrote this letter obviously knew              21        Q.     Okay.

22 that Little was a disgruntled employee.                         22        A.     And that's according to policy, so I

23        Q.      Okay.                                            23 didn't tell her anything that I wasn't in my right as
24        A.      Which I had mentioned to Sullivan.               24 a commanding officer to tell her.


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 1          Q.     Okay.   And I want to be clear, you               1         Q.      Yes?

 2 don't know who wrote this letter?                                 2         A.      Yes.

 3          A.     Nope.                                             3         Q.      What's the date on there?

 4          Q.     And you don't have a suspicion as to              4         A.      October 27, 2017.

 5 who wrote the letter?                                             5         Q.      Okay.   And I just want to be clear, at

 6          A.     Like I said, because of the names on              6 the beginning it says October 13, 2017 and -- and
 7 the letter and the complaint, I'm imaging it was                  7 does this refresh your memory at all as to when the
 8 disgruntled employees and since one of them was                   8 incident between Officer Klayman and Chase Trimmer
 9 Sergeant Faust communicating with Sullivan, I don't               9 occurred, did it occur in 2017 or 2018?
10 know where this came from.                                       10         A.      It was 2017.

11          Q.     Is Sergeant Faust mentioned anywhere in          11         Q.      Okay.   Thank you.   I'm going to --

12 this letter?                                                     12         A.      This letter surfaced a few weeks after

13          A.     I don't -- I got to read a little bit            13 the incident.
14 more.                                                            14         Q.      Okay.

15          Q.     Okay.   I'll give you a minute to                15         A.      Or a week or two as I recall.

16 continue reading it.                                             16         Q.      Okay.   I'm going to take this down

17                 MR. GREEN:    Can you scroll it from the         17 then.
18          beginning?                                              18                 So you had testified that you heard

19                 MS. ULAK:    Okay, I'll start at the             19 Sergeant Faust speaking with Officers Ragucci and
20          beginning.                                              20 Falco about having you removed from PAL.     When did

21 BY MS. ULAK:                                                     21 you overhear that conversation?
22          Q.     And, Ms. Cintron, you tell me when you           22         A.      Shortly after Sergeant Faust started

23 want me to scroll down, okay?                                    23 visiting Sullivan on a weekly basis.
24          A.     You can scroll down.                             24         Q.      When did Sergeant Faust start visiting

                                                          Page 96                                                             Page 98
 1          Q.     Okay.                                             1 Sullivan on a weekly basis?
 2          A.     No, I don't see Sergeant Faust but I              2         A.      Yes, and when I spoke to him about

 3 know that Sergeant Faust had met with Officer Little.             3 jumping the chain of command, Sergeant Faust
 4          Q.     Okay.                                             4 explained to me that Sullivan told him not to tell me
 5          A.     And I also caught Sergeant Faust                  5 that he was going up there, one.     And two, that he

 6 talking with Keith Falco and mentioned to him -- was              6 told him to disregard me, you know, and go -- and,
 7 talking about his meeting with Sullivan and how --                7 you know, he kept calling him to go up there.
 8 and how they were going to get me out of there.                   8                 So in an essence, he was creating this

 9          Q.     You saw Sergeant Faust --                         9 hostile work environment for me because the sergeant
10          A.     Sergeant Faust was talking secretively           10 became very cocky and very condescending and
11 with Keith Falco and Ragucci, Officer Ragucci at                 11 disrespectful and he would blatantly violate the
12 Rizzo PAL when I went over there because there was an            12 rules and he would brag about how Sullivan was his
13 event that I wanted to attend and I walked through               13 buddy and -- and things like that, so it was making
14 the doors, I overheard them talking in the side                  14 it very hard for me to do my job.
15 office saying the deputy, which is what caught my                15         Q.      Okay.   When did Sergeant Faust start

16 attention, and Sergeant Faust was laughing and                   16 going to these weekly meetings with Deputy Sullivan?
17 bragging about how they were working on getting rid              17         A.      After the incident between the civilian

18 of me.    And when they saw me, they were surprised to           18 and the officer.
19 see me and tried -- and pretended to be talking about            19         Q.      So that started in October of 2017?

20 something else.                                                  20         A.      Yes.

21          Q.     Okay.   I just want to be clear about            21         Q.      Okay.   How many weekly meetings could

22 one thing, the stamp -- there's a date stamp                     22 have taken place?
23 on what's been marked as PAL-4, right?                           23         A.      I don't know.   He -- he -- there was a

24          A.     Uh-huh.                                          24 few times when the sergeant -- the first time he


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 1 didn't tell me.      The second time -- you know, the               1 would cause me the inability to do my job properly
 2 subsequent times he would tell me the deputy wants me               2 because, in essence, the sergeant who was my
 3 to come to his office and he would just leave.                      3 subordinate staff, was telling me the deputy wants
 4 Sullivan wouldn't contact me to see if the sergeant                 4 this, the deputy wants that because the deputy at
 5 was on another assignment, he won't contact me to let               5 some point wouldn't even talk to me.   So I felt that

 6 me know.      He was just calling the sergeant to come              6 they were undermining my command by having a sergeant
 7 see him.                                                            7 tell me what to do.
 8          Q.       Okay.   And am I understanding your               8        Q.      Okay.

 9 testimony correctly that Sergeant Faust would tell                  9        A.      And making my job more difficult with

10 you that he was visiting Deputy Sullivan and that                  10 this disgruntled employee who was coming back with,
11 Deputy Sullivan told him not to tell you what he was               11 you know, the ability to do whatever he wanted
12 doing?                                                             12 because he was being protected by Sullivan who told
13          A.       No, the first time when he was seen at           13 him not to -- not to do any -- take any disciplinary
14 the roundhouse at Deputy Sullivan's office and I                   14 action against him.
15 found out about it and I approached him and asked him              15        Q.      Now, Ms. Cintron, you had testified

16 why is he jumping the chain of command, he said the                16 that you heard Sergeant Faust and Officer Ragucci and
17 deputy called me to his office but he told me not to               17 Officer Falco talking about how the deputy was trying
18 tell you.      After that he would just say I have to go           18 to get rid of you and get you out of PAL and you
19 to the deputy's office and he would leave.                         19 heard them -- your testified you heard them talking
20          Q.       Okay.   But -- okay.   But he would tell         20 at Rizzo PAL, when did this conversation take place?
21 you he was going to Deputy Sullivan's office?                      21        A.      All of this, as far as the sergeant

22          A.       After the first time.                            22 going up, it happened after the incident with the --
23          Q.       Okay.                                            23 the officer and civilian staff --
24          A.       And I kept telling him he needed to              24        Q.      Okay.

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 1 stop jumping the chain of command.        He would not              1        A.      -- member.

 2 listen and since Sullivan is my superior he would                   2        Q.      You testified you were arriving at

 3 have to follow the deputy's orders.                                 3 Rizzo PAL for an event?
 4          Q.       So he's following the deputy's orders,            4        A.      Yeah, they were having a mentorship

 5 he's not really jumping the chain of command, is he?                5 program upstairs and Officer -- the officer that was
 6          A.       The first time --                                 6 working there had invited me to come up to the event.
 7                   MR. GREEN:    Before you answer that              7 So I was going up there to talk to the kids which is
 8          question, can you repeat it, please?                       8 the building next to the headquarters.
 9                   MS. ULAK:    Ms. Schumann, can you repeat         9        Q.      Okay.   And so when you entered the

10          it?                                                       10 building where were these three people?
11                            * * * * *                               11        A.      When you enter Rizzo PAL immediately to

12                   (Whereupon, the requested portion of             12 your right there's what used to be like a little
13          the testimony was read back by the court                  13 kitchenette.
14          reporter.)                                                14        Q.      Okay.

15                           * * * * *                                15        A.      And they were working over there trying

16 BY MS. ULAK:                                                       16 do some repairs -- not repairs, but they were
17          Q.       Ms. Cintron, you can answer.                     17 remodeling over there.
18          A.       Okay.   The first time he -- the problem         18        Q.      Okay.

19 wasn't per se jumping the chain of command.        The             19        A.      That's where Officer Ragucci was

20 subsequent times, even though he did it the first                  20 assigned to because he was our procurement officer.
21 time, because the deputy was calling him to come to                21 The procurement was over there.   Officer Ragucci and

22 his office, he would have to go see the deputy.                    22 Falco are known to be friends with Sergeant Faust and
23                   The problem here was that the sergeant           23 when I walked in, immediately to your right is where
24 came back and was following the deputy's orders that               24 they were at, but as you walk in you don't see who's


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 1 there because it's like a doorway.      So when I walked          1        2:12 p.m. and we're off the record.

 2 in they were laughing and giggling and saying these               2                         * * * * *

 3 things, so immediately like I -- when I heard them                3                 (Whereupon, an off the record

 4 mention my name, obviously, you know, I was within                4        discussion was held.)

 5 hearing distance and I heard them say what I told you             5                         * * * * *

 6 they said about oh, we're going to get rid of her and             6                 THE VIDEOTAPE OPERATOR:   The time is

 7 they were laughing and just carrying on but about                 7        2:13 a.m. and we're back on the record.

 8 how, you know, they were going to get rid of me.       And        8 BY MS. ULAK:
 9 then when they saw me they were in shock that it was              9        Q.       Okay.    So you came to learn of the

10 me and they tried to act like they were talking about            10 letter at Internal Affairs?
11 something else, but I already had heard what I had               11        A.       Yes.

12 heard.                                                           12        Q.       Okay.    And you say -- what happened,

13          Q.     So this is a conversation they were              13 how did this all come to your attention?
14 having openly at PAL, but they just didn't think you             14        A.       I received the subpoena to report to

15 were nearby?                                                     15 Internal Affairs, it stated that I was a target and I
16          A.     Right, because I'm assigned to the               16 thought I was going down there to be interviewed
17 other building and there's nobody else in that                   17 about the incident that took place and they presented
18 building.                                                        18 me with the letter.
19          Q.     Okay.                                            19        Q.       Okay.    When did you receive a letter

20          A.     Upstairs, Rizzo PAL is upstairs.                 20 saying you were the target?
21          Q.     Okay.    Let's go back to this --                21        A.       It's a subpoena that I received, I

22                 MS. ULAK:    Actually, why don't we go           22 don't remember the exact date on it.
23          off the record for a second.                            23        Q.       Did you receive it before you went down

24                 MR. GREEN:    I'm sorry?                         24 to Internal Affairs?
                                                         Page 104                                                         Page 106
 1                 MS. ULAK:    Let's go off the record for          1        A.       Yes.

 2          a second.                                                2        Q.       Okay.    And when you said you thought it

 3                 MR. GREEN:    Okay.                               3 was about the incident that took place, we can agree
 4                 THE VIDEOTAPE OPERATOR:    The time is            4 it was the incident between Officer Klayman and Chase
 5          12:56 p.m. and we are off the record.                    5 Trimmer, correct?
 6                          * * * * *                                6        A.       Yes.

 7                 (Whereupon, a luncheon recess was                 7        Q.       And what happened when you got down to

 8          taken.)                                                  8 Internal Affairs and you saw the letter, what
 9                          * * * * *                                9 happened next?
10                 THE VIDEOTAPE OPERATOR:    The time is           10        A.       I just gave my interview.   They took an

11          2:11 p.m. and we are back on the record.                11 interview and that was it, but -- about they
12 BY MS. ULAK:                                                     12 questioned me about the letter, they questioned me
13          Q.     Okay.    Ms. Cintron, welcome back.              13 about the incident.      I just gave my Internal Affairs

14          A.     Okay.                                            14 interview.
15          Q.     All right.    So I want to talk to you a         15        Q.       To whom did you give the interview?

16 little bit more about what happened after that                   16        A.       With detective -- what's his name?     I'm

17 anonymous letter was sent to the police department,              17 at a loss for his name now.      I forget the name of the

18 and you testified you don't know who wrote that                  18 investigator.
19 letter.    How did you come to learn about the letter?           19        Q.       If I told you it was Fred Conway, would

20          A.     At Internal Affairs.                             20 that -- does that sound correct to you?
21                 (Technical difficulties.)                        21        A.       Conway, yes, it was Conway.

22                 MS. ULAK:    Okay, we have to go off the         22        Q.       And did you have an attorney present at

23          record again.                                           23 this interview?
24                 THE VIDEOTAPE OPERATOR:    The time is           24        A.       Yes.


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 1         Q.      Who was that attorney?                           1        questions you're referring to.    I did explain

 2         A.      It was an attorney for the City.     She         2        that, you know, I was the one that reported

 3 was representing the officers there at Internal                  3        the incident with the two to Sullivan and I

 4 Affairs.                                                         4        don't know how the investigation turned on me.

 5         Q.      She was representing the officers at             5 BY MS. ULAK:
 6 Internal Affairs?                                                6        Q.      Okay.

 7         A.      Yes.                                             7        A.      After reporting it to Sullivan, but I

 8         Q.      What was that attorney's name?                   8 don't remember my exact words, but I do remember
 9         A.      It was a female, I can't recall her              9 explaining that I was going through all this stuff at
10 name.   She represented me that one time.                       10 PAL.
11         Q.      Represented you that one time?                  11        Q.      Uh-huh, yes.   What was the stuff that

12         A.      She's the FOP attorney that represents          12 you were explaining that you were going through at
13 the officers.                                                   13 PAL?
14         Q.      Okay.    So an FOP attorney came, that          14        A.      How I was being treated, how they were

15 FOP attorney represents the officers, was she there             15 retaliating against me for speaking up about -- for
16 for you?                                                        16 advocating for the centers and the kids and making
17         A.      Yeah.                                           17 decisions that they were not happy with, and I
18         Q.      Okay.    So it was an attorney who was          18 explained to them that the MOU had just been -- it
19 representing you at this meeting?                               19 had just been announced that the MOU was finalized
20         A.      Right.                                          20 and that we were going to be discussing that soon and
21         Q.      Okay.    So you gave your Internal              21 that all of a sudden everything that I reported to
22 Affairs interview in the presence of counsel on your            22 Sullivan was now being turned against me from what I
23 behalf; is that correct?                                        23 could see.
24         A.      Yes.                                            24        Q.      Okay.

                                                        Page 108                                                          Page 110
 1         Q.      Okay.    And what did you discuss in this        1        A.      From what I was experiencing.

 2 interview?                                                       2        Q.      And who is it that you say was

 3         A.      They questioned me about a lot of stuff          3 retaliating against you, was that PAL employees?
 4 pertaining to the incident.      They questioned me about        4        A.      No, I told them it was PAL, as well as

 5 the validity of this letter.      I can't say for sure           5 Sullivan.
 6 what specific questions they asked, but they just                6        Q.      Okay.   Ms. Cintron, I am going to pull

 7 asked me about the situation that happened.                      7 up what we will mark as City-2.    Just give me one

 8         Q.      And during this interview, did you have          8 moment here.
 9 the opportunity to discuss any concerns that you                 9        A.      Uh-huh.

10 might have?                                                     10        Q.      Okay.   Can you see my screen?

11                 MR. GREEN:    I'm sorry, I can't hear.          11        A.      Yeah.

12         Can you repeat that question.                           12        Q.      Okay.   You see at the top it says

13 BY MS. ULAK:                                                    13 statement of Lieutenant Evelyn Cintron?
14         Q.      During this interview did you have the          14        A.      Yes.

15 opportunity to discuss concerns that you might have?            15        Q.      Okay.   It also says in the presence of

16                 MR. GREEN:    You may answer that.              16 Danielle Nitti, Esquire.    Is that the attorney for

17                 MS. ULAK:    I'm sorry, please go ahead,        17 the Union who was with you?
18         Ms. Cintron.                                            18        A.      Yes.

19                 THE WITNESS:    Oh, I thought Mr. Green         19        Q.      Okay.   I'm going to represent to you

20         was saying something.                                   20 that this is the interview, I think it's actually all
21                 MR. GREEN:    I said you may answer, go         21 of the interviews that you gave to Internal Affairs
22         ahead and answer the question.                          22 in the presence of Brent Conway, and I'm just going
23                 THE WITNESS:    I don't have the document       23 to kind of scroll you through this slowly, but do you
24         in front of me, so I don't know what specific           24 have any reason to dispute this is your interview?


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 1         A.     No.                                              1 Ted Qualli exaggerating what happened that day as
 2         Q.     Okay.                                            2 another way to create another situation that would
 3         A.     I haven't seen the whole thing but I             3 get me in trouble.
 4 see my signature.                                               4        Q.      Okay.

 5         Q.     Okay.    So at the bottom of each page           5        A.      Because when this incident happened it

 6 we're going to see a signature and you have no reason           6 was an argument between two people and their
 7 to dispute that you signed off on each page, right?             7 statements, and his communication to Sullivan was not
 8         A.     Right.                                           8 accurate in what actually happened.
 9         Q.     Do you get to see this document before           9                (Simultaneous crosstalk.)

10 you sign off on it?                                            10 BY MS. ULAK:
11         A.     They tell you to sign off each page             11        Q.      How is it inaccurate -- I'm sorry.

12 once they print it.                                            12        A.      One, he was not there during the

13         Q.     Okay.    And do you get the chance to           13 incident.   Before he wasn't answering my phone calls

14 read it before you sign it?                                    14 and went directly to Sullivan who immediately took
15         A.     Yeah.    Yes.                                   15 his side, he sided with Ted Qualli and made certain
16         Q.     I'm just going to go kind of slowly             16 -- well, Ted Qualli and I called Sullivan to explain
17 through this, but we're not going to go through this           17 to him that Ted Qualli had made some decisions like
18 interview word-for-word.       I just want to get to the       18 sending everybody home without talking to me about
19 end of your first interview with Internal Affairs.             19 what took place and created a potential, you know,
20                Okay.    So I'm on what's been previously       20 panic in the unit when that was not necessary and
21 Bates stamped as City 152, it is the 16th page of              21 that's what I was referring to in this statement.
22 City-2, and looking at this document I see that there          22        Q.      Okay.

23 is a question, is there anything else that you would           23        A.      And then he came and yelled at me which

24 like to add that has not been addressed in this                24 I also told Sullivan about it but he didn't do
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 1 interview?   Answer, and then there's a handwritten             1 anything about it, and I also wanted to let Conway
 2 paragraph.   And are you able to read this paragraph?           2 know that right before I was scheduled to come to my
 3         A.     Yes.                                             3 interview he came into my office to yell at me.
 4         Q.     Okay.    I would actually like it if you         4        Q.      That's Ted Qualli came into you office?

 5 are able to -- if you could read this paragraph out             5        A.      Yes.    So I felt like he was doing that

 6 loud just because I don't want to interpreting your             6 to -- to intimidate me as well as, you know, trying
 7 handwriting here.                                               7 to create another situation to make this situation
 8         A.     I would like to document that Ted                8 even worse.
 9 Qualli has continued to attempt to create situations            9        Q.      Okay.

10 for which he wants to argue with me and intimidate             10        A.      So that's what I was referring to, him

11 me.   He is subjecting me along with a few members of          11 yelling at me trying to provoke me I guess or
12 the staff to a hostile work environment.       Friday he       12 intimidating me because he knew I was going to
13 came into my office to yell at me and berate me about          13 Internal Affairs.     But all of this that's in the

14 PAL-related matters in his attempt to have me be               14 statement I had spoken to Sullivan about and he did
15 removed from the unit.     I feel that the incident            15 nothing about the fact that Ted Qualli came into my
16 involving Officer Klayman and Chase Trimmer was used           16 office yelling at me.    I submitted a memorandum to

17 as a platform to drive personal agenda.                        17 Sullivan in reference to this last incident that
18         Q.     At no point in this paragraph do you            18 happened before I went to my meeting.
19 mention Joe Sullivan; am I right?                              19        Q.      You sent a memorandum to him in

20         A.     I didn't mention him in this -- in this         20 reference to Ted Qualli coming into your office and
21 situation because I felt that this was about the               21 yelling at all?
22 incident involving two individuals.       Ted Qualli had       22        A.      Yes, and he didn't do anything about

23 called Sullivan and I had called Sullivan and                  23 it.
24 explained to him what's in this statement in terms of          24        Q.      Okay.   Was there anything else that you


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 1 were concerned about that you addressed with Brent          1 notified of any wrongdoing.    I was never given notice

 2 Conway during your interviews with Internal Affairs?        2 that there was any wrongdoing or that they found me
 3        A.       Yes, I was concerned because Conway         3 guilty of anything.   As far as I was concerned it was

 4 expressed to me that he tried close the case because        4 over with and they didn't find anything.
 5 he couldn't find anything against me and he said I'm        5        Q.     You were never disciplined for anything

 6 not afraid to go up against deputies who like to            6 related to this, right?
 7 bully people, but this is clearly a witch hunt.             7        A.     Nope.   Nope.

 8 They're trying to close this case because I can't           8        Q.     Okay.   You had testified earlier

 9 find anything that you did wrong but Sullivan told me       9 about -- about how you had Sergeant Pascucci speak
10 or instructed me to keep digging.                          10 with Janice Little, am I remembering that correctly?
11        Q.       Let me stop sharing this.                  11        A.     Yes.

12                 To your knowledge, what was the outcome    12        Q.     Okay.   How was your working

13 of the Internal Affairs investigation?                     13 relationship with Officer Little?
14        A.       When I did my exit interview, I was        14        A.     Officer Little is great with the kids.

15 told by the Deputy Commissioner Wimberly that I            15 The only thing is with Officer Little she likes to
16 should not leave the department because I had a good       16 deviate the rules to her advantage, and when I first
17 working record and she said they didn't find               17 got to PAL Ted asked me to speak to her because she
18 anything, so you should not let people run you off         18 would go and spend her own money to buy stuff for
19 the job.    And I explained to her that this was about     19 PAL-related events which is a PAL rule that they're
20 my health and me going through everything that I went      20 not supposed to do.
21 through was jeopardizing my health and she suggested       21               So when I got there to PAL she already

22 that I take a nonpaid leave status, and I told her         22 had a situation like that before my arrival to PAL
23 that I would be willing to do that, but my year had        23 and she wanted to get reimbursed for spending her own
24 expired to be on family leave according to the rules       24 money on PAL-related events that they had declined
                                                   Page 116                                                      Page 118
 1 and at that point she called Deputy Commissioner            1 her to do because the way that it works is that the
 2 Coulter who was the approving -- the person that            2 officers submit a memo requesting what they want and
 3 would approve for me to go on nonpaid status medical        3 then it goes through an approval process of what they
 4 leave, but Deputy Commissioner Coulter denied the           4 can and cannot do in terms of that program or event,
 5 request and was not letting me go out on nonpaid            5 and whatever they get approved for in terms of
 6 status which forced me to retire.                           6 finances that's what they're allowed to spend.
 7        Q.       And I want to clear here, to your           7               And Sunny Li as the chief financial

 8 knowledge, did the Internal Affairs investigation           8 officer would give them either a check or petty cash
 9 sustain any wrongdoing on your part?                        9 to handle, you know, the finances.
10        A.       At that point, I didn't know because       10               The rule in place is that they're not

11 Wimberly, Deputy Commissioner Wimberly who was in          11 supposed to spend their own money, but Officer
12 charge of Internal Affairs told me they didn't find        12 Little, according to Ted Qualli she had did this
13 anything.    So to my knowledge they didn't show me        13 several times and right before I got there she did it
14 anything, they didn't give me anything.     But in         14 again and he did not want to reimburse her because it
15 her -- she explicitly told me they didn't find             15 was something that was becoming a habit of Officer
16 anything, so I'm assuming everything was done and          16 Little to get what she wants, you know, even though
17 over with at that time.                                    17 stuff was declined.   So we rectified that situation

18                 It wasn't until recently that I found      18 by reimbursing her for that incident.
19 out that they put something in my record as far as         19               Fast forward, I would say less than a

20 finding me guilty about stuff that is not accurate.        20 year later she did it again.   Again Ted Qualli and I

21        Q.       Did you ever have a PDI hearing in         21 sat down with her and told her she cannot go in her
22 relation to this incident?                                 22 pocket to spend money.    Sunny Li decided to reimburse

23        A.       No, because according to Deputy            23 her again because there was an excess of funds in
24 Wimberly they didn't find anything.    I was never         24 other areas so she said I'm only going to do it


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 1 because we didn't spend everything in other areas              1 she needs to focus on work and refrain from talking
 2 that we could reimburse her.                                   2 about an active investigation.
 3               I counseled Officer Little about it and          3          Q.    Okay.   Did any other people witness the

 4 told her she could not to do that again.    So she then        4 incident between Officer Klayman and Chase Trimmer?
 5 went through the sergeant to submit a few memos to do          5          A.    Well, Sergeant Faust, Cassandra Harris

 6 a dance program.   The sergeant brought it to my               6 and I were in the office, we witnessed the yelling
 7 attention and according to the budget she could only           7 but there was a few other civilians that worked in
 8 include 50 girls in this program but she wanted to do          8 that area that witnessed it.
 9 the program for 100 girls.    So she was declined,             9          Q.    Okay.   When you told Sergeant Pascucci

10 denied the request to host this program for 100 girls         10 to speak with Officer Little, do you believe he
11 and was only approved for 50 girls, but Officer               11 understood what you were asking him to talk to her
12 Little decided that she would go in her pocket again          12 about?
13 and spend her own money to fund this program and then         13          A.    I thought I was very clear that to tell

14 she waited about six months and tried to submit a             14 her that it was an ongoing investigation.    I mean

15 memorandum through Sunny Li for reimbursement, but            15 those were the words I used, tell her it was an
16 since we had closed the fiscal year that August Sunny         16 ongoing investigation, to refrain from speaking on an
17 Li said she couldn't do it and would not reimburse            17 ongoing investigation.
18 Officer Little for a third time since I was there for         18          Q.    Okay.   I'm going to show you what we're

19 going in her pocket.                                          19 going to mark as City-3.
20               So Officer Little was upset at me               20                Ms. Cintron, can you see this?

21 because she said I should have fought for her to get          21          A.    Yes.

22 reimbursed, and I explained to her that I don't               22          Q.    Okay.   And looking at this, are you

23 handle that part of it and that she was already               23 able to identify what it is?
24 warned and given a written warning about doing this,          24          A.    That's the letter.

                                                      Page 120                                                        Page 122
 1 but she decided to do it anyway.                               1          Q.    This is marked City-3, what letter?

 2        Q.     Okay.    Ms. Cintron, let's maybe focus          2          A.    The letter that Internal Affairs showed

 3 this a little bit better.                                      3 me.
 4               You had testified earlier that she was           4          Q.    Okay, I'm not showing you that.

 5 discussing the incident that occurred between Officer          5                If you take at look at the top it says

 6 Klayman and Chase Trimmer and you had Sergeant                 6 from, it says Lieutenant Evelyn Cintron, sent
 7 Pascucci stop her because this was an active                   7 Wednesday --
 8 investigation.   What was she saying about this                8          A.    Oh, Nadarih, Nadarih McCauley.

 9 incident, what was she talking about?                          9          Q.    Yes.

10        A.     It was officer -- one of the officers           10          A.    Yeah, it just looked similar for a

11 came up to me and told me that she was going around           11 second, I don't know.
12 to the other officers and trying to get them involved         12          Q.    I can understand why you might think it

13 in the incident.   Basically from what I gathered --          13 looks that way.   That's why we're trying to be clear

14 gathered, she was trying to get them to say things            14 here.
15 against Officer Klayman because they didn't like him.         15                The subject line says office gossip and

16 They had a -- they didn't get along, and she was also         16 it's marked as high importance?
17 talking about, you know, like just the investigation          17          A.    Yes.

18 in general and she was not there when it took place.          18          Q.    Okay.   I am just going to give you a

19               So when officer -- I'm trying to think          19 moment to read through this e-mail, you let me know
20 what officer came up to me and told me about it.     The      20 when you've had a chance to get this part and I'll
21 sergeant was right there, I said do me a favor, tell          21 scroll down.
22 Officer Little that this is an ongoing investigation          22          A.    Can you move it up?

23 and because, you know, there's a policy that you're           23          Q.    Yep.

24 not allowed to discuss an ongoing investigation, that         24          A.    Okay.   Move it up a little bit.   Okay.


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 1        Q.       Okay.   What was the purpose of sending       1        A.      When you have an employee starting

 2 this e-mail?                                                  2 rumors about the commanding officer and blatantly
 3        A.       When this situation happened I spoke to       3 being disrespectful, it undermines my command when
 4 Ted Qualli and I spoke to Chase Trimmer.     I went to        4 you're tying to cause all these problems on the
 5 Chase Trimmer first because he had oversight over             5 workplace, it was also becoming a hostile work
 6 Nadarih McCauley and I said to him we have a                  6 environment for me, which is what I wanted Ted to
 7 situation here that we need to address with Nadarih.          7 address but he refused to do that.    I mentioned this

 8 Giving them the opportunity to speak to her about             8 to Sullivan who didn't do anything about it.
 9 this situation.                                               9        Q.      Okay.

10                 Chase Trimmer refused to speak to her        10        A.      But called me after this letter was

11 and he called Ted Qualli to come join us in the              11 forwarded to him to tell me that I am not to speak to
12 meeting.    I said -- as a matter of fact, I said as         12 officer -- to speak to Nadarih or anybody else about
13 matter of fact call Ted where he can be here present         13 any of this.   So not only my concerns were not

14 while we discuss this because my understanding is            14 addressed, but they were laughing about it.    They

15 that you, as her immediate supervisor, refused to            15 didn't care how hostile the environment was for me.
16 talk to her about this.     And then -- we called Ted        16 They didn't care how I was being intimidated in the
17 Qualli to join the meeting.                                  17 workplace.
18                 When Ted Qualli joined the meeting, I        18        Q.      Now, Ms. Cintron, I just want to turn

19 told him what was going on, what was brought to my           19 your attention to the second paragraph from the
20 attention and Ted Qualli immediately said -- he              20 bottom, it just says I did get a follow-up e-mail
21 started laughing and he said people can say whatever         21 from Ted stating that you denied being involved, but
22 the hell they want, and I said -- and I reiterated to        22 acknowledged speaking to Officer Jackie Little who
23 him that when there was a rumor about                        23 was also mentioned as being involved.
24 misappropriation of funds coming from Ted Qualli, he         24                Officer Little, is that the same -- is

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 1 asked me to address the officers that were, you know,         1 that the same officer who is mentioned in the letter
 2 starting this rumor and I gave him the courtesy to            2 to Internal Affairs?
 3 sit down with the officers to ensure that this does           3        A.      Yes.

 4 not happen in the workplace because it deviates from          4        Q.      Okay.   What was the purpose of this

 5 the job that we have to do.                                   5 sentence mentioning Officer Little?
 6                 So whenever Ted Qualli had an issue           6        A.      Because after we had that meeting, Ted

 7 with officers, I would make sure we call the officers         7 had sent me an e-mail saying she said she wasn't
 8 in and we would discuss the matter and I would                8 involved in any of that, she, Nadarih, meaning
 9 instruct my officers to, you know, whatever they were         9 Nadarih, mentioned Officer Little as the one that was
10 doing that was disrespectful to Ted that would               10 involved.
11 correct the situation, but he did not give me the            11        Q.      Okay.

12 same courtesy.    He laughed and said that people can        12        A.      So basically they were pointing the

13 say whatever the hell they want and that he wasn't           13 fingers at each other.   Officer Little and Nadarih

14 going to say nothing to Nadarih.     And I said are you      14 were pointing fingers at each other.
15 serious?    You're not going to address this matter?         15        Q.      Did you ever confront Officer Little

16 And he said no.    So I had no other choice but to send      16 for spreading rumors about you and Officer Klayman?
17 Nadarih this e-mail to let her know that this was my         17        A.      Officer Little came to my office and

18 position on the matter.                                      18 she made a comment that was very interesting to me
19        Q.       Okay.   So I want you to be --               19 because she made a comment and said to me had you
20        A.       Because they refused to take                 20 booked my reimbursement, seriously I wouldn't have
21 disciplinary action or address her about the matter.         21 done what I did.   And when she made that remark I

22        Q.       Okay, but I want to be clear here, what      22 felt that if this turns into something bigger I
23 is the matter?    When you say the matter, what is the       23 didn't want to question her without proper
24 matter?                                                      24 representation because there's a different process


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 1 for a civilians and there's a different process for         1          Q.    When did you go to move him from his

 2 officers.                                                   2 shift?
 3                 Had I questioned her without proper         3          A.    I can't remember the month or the date.

 4 representation then I would have been in violation of       4 I can't remember the date or the month.
 5 questioning her about something that was an ongoing         5          Q.    Okay.   I'm going to show you what's

 6 investigation.                                              6 been marked as City-4 or what I will mark as City-4.
 7          Q.     How long did you work with Sergeant         7          A.    Uh-huh.

 8 Faust for?                                                  8          Q.    Give me one moment.

 9          A.     How long what?                              9                Looking at this it's a memorandum, it's

10          Q.     How did you work with Sergeant Faust       10 addressed to Sergeant Faust, it's from commanding
11 for?                                                       11 officer Police Athletic League.    Are you able to see

12          A.     For the time that I was at PAL.            12 it?
13          Q.     Okay.   And what was his shift while he    13          A.    Yes.

14 worked at PAL with you?                                    14          Q.    Okay.   And does this memorandum look

15          A.     Both sergeants were supposed to rotate     15 like a memorandum you might have sent?
16 shifts.    They were supposed to be Monday through         16          A.    Yes.

17 Friday, eight to four for two weeks and then he would      17          Q.    Okay.   And what's the date at the top?

18 switch to four to 12.     When I first got there because   18          A.    11/6/17.

19 he was also handling administrative stuff, I allowed       19          Q.    And what is the subject of this memo?

20 him to stay eight to four for the time being until I       20          A.    Shift reassignment.

21 learned my way around, but when I tried to move him        21          Q.    So it was November of 2017 when you

22 back to his regular shift, rotating shift, he              22 chose to reassign Sergeant Faust's shift; is that
23 complained to Sullivan who told me not to change his       23 correct?
24 shift.    But the shifts between the sergeants are         24          A.    Yes.

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 1 supposed to rotate because all the officers work from       1          Q.    Okay.

 2 two to 10 and he was in charge of half those                2          A.    But prior to that we had several

 3 officers.                                                   3 meetings about it.
 4          Q.     Okay.                                       4          Q.    Okay.   Okay.

 5          A.     And he was supposed to be checking on       5          A.    So he knew this was coming because we

 6 the centers.                                                6 had discussed it previously.
 7          Q.     But -- sorry, go ahead.                     7          Q.    Okay.

 8          A.     But the other partner was overseeing        8          A.    This memo is a standard memo that you

 9 the entire City while I kept Sergeant Faust eight to        9 give someone when you're going to move them because
10 four to kind of show me around because he had been         10 you want to give them enough time to adjust their
11 there for so long so he could, you know, show me           11 home schedule, so you give them 30 days according to
12 around how everything works.                               12 policy.    So this is standard when you're changing

13          Q.     And -- oh, sorry.                          13 someone's shift and it's a contractual agreement with
14          A.     And then he didn't want to switch back     14 the FOP.
15 to four -- two to 10 rather.                               15          Q.    Okay.   So you would agree with me

16          Q.     When did you try to move him?              16 though that moving him in November of 2017 was well
17          A.     We actually had two meetings where we      17 after when you first arrived at PAL, right?
18 discussed the length of time that he would be on day       18          A.    Yes.    According to the date, yes.

19 work because I felt bad for Sergeant Pascucci --           19          Q.    Okay.   And was this after the letter

20 first Sergeant Pascucci who was having to go from one      20 was sent to Internal Affairs?
21 part of the City to the next to supervise officers         21          A.    It was after the incident, but I don't

22 and we had discussed it in several meetings, but when      22 recall I had seen the letter by then.
23 I went to move him from his shift, he made the call        23          Q.    Okay.   We discussed this earlier, the

24 to Sullivan and I was told to leave him alone.             24 letter was dated October 27, 2017, so this memo came


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 1 after the letter was sent or at least after the               1 to express myself, he said I don't want to hear, I
 2 letter was received by Internal Affairs.     Would that       2 don't want to hear, Evelyn leave, Evelyn leave,
 3 be accurate to say?                                           3 Evelyn leave, I don't want to hear it, go talk to
 4          A.     Well, what I'm trying to say is that I        4 him, go talk to him.   He literally didn't want to

 5 don't know if I have gone and given my interview at           5 hear anything.
 6 this time.    I don't think I had gone and given my           6               And I said, well, I'm coming to you

 7 interview which means I wouldn't -- I didn't know             7 because as his supervisor this is policy, I'm
 8 about the letter.                                             8 supposed to go to higher up if who I'm complaining
 9          Q.     Okay.   By the time that you had sent         9 about is my immediate supervisor and, again, he said
10 that memo though, had you -- you had already                 10 go talk to him, go talk to him and he basically
11 addressed your concerns about rumors with Nadarih,           11 kicked me out of the office and directed me to go
12 right?                                                       12 back to Sullivan.
13          A.     If -- if the date is before then, then       13               When I went to the Sullivan's office,

14 yes.                                                         14 Sullivan told me that better be the last time you try
15          Q.     Okay.                                        15 to circumvent me and go to a higher rank, and I said
16          A.     My decision to move Sergeant Faust had       16 well, with all due respect if I'm complaining about
17 nothing to do with the incident.     This was something      17 you I followed policy.   So my job was to go through

18 we spoke about months prior.     He signed off on it         18 your supervisor because I'm not getting any results
19 months prior during our meeting because I would have         19 with you and you're not listening to any of my
20 them sign off on our meetings and what we discussed          20 concerns and you keep siding with the Board.
21 during our meetings, so he was aware of this way             21               So we basically had that conversation,

22 before this incident.                                        22 and he told me at that point that I were to never
23          Q.     Okay.   We know that you have testified      23 contact anybody above him ever again.
24 today that you had complained to Joe Sullivan about          24        Q.     Okay.

                                                     Page 132                                                        Page 134
 1 complaints you had working at PAL.     Did you make any       1        A.     So he basically cut off my opportunity

 2 complaints to anybody else within the City of                 2 to report through the departmental means according to
 3 Philadelphia?                                                 3 policy.
 4          A.     I attempted to, before Paterson retired       4        Q.     Did you have other means within the

 5 being first deputy, Sullivan would be reporting to            5 City of Philadelphia to report these concerns?
 6 him as second deputy.     So I went to Paterson to talk       6        A.     When I did my interview with Internal

 7 to him about the stuff that Sullivan was doing and he         7 Affairs, they gave me an EEOC complaint form and they
 8 directed me to go back to Sullivan and didn't want to         8 advised me to fill out an EEOC complaint form.    But

 9 hear it, what I had to say.                                   9 being that Sullivan who was the person I'm
10          Q.     And what was the stuff that Sullivan         10 complaining about was interfering with the
11 was doing that you were trying to complain about to          11 investigation by calling the detective and telling
12 Paterson?                                                    12 him to keep digging, I knew that it would not be
13          A.     Undermining my command by having, you        13 investigated fairly.   So I decided that I would go

14 know, subordinate staff report to him.     Isolating me      14 through the City, through my other means of reporting
15 by taking assignments that were under my purview to          15 an EEOC complaint.
16 handle.    Having his sergeant listen in on my -- my         16        Q.     Okay.    We're going to have to back up a

17 conference calls, siding with the PAL Board and it           17 little bit here.
18 being a conflict of interest because they support his        18               At Internal Affairs you received an

19 nonprofit, and him treating me less favorable than my        19 EEOC form and you did not fill it out.   How did you

20 males -- the males that worked in the unit.                  20 know Joe Sullivan was telling people to keep digging,
21                 But when I went to speak to him -- when      21 how do you know it was him?
22 I went to speak to him he said that I needed to go           22        A.     Conway told me.

23 back to Sullivan and he didn't want to hear it.     He       23        Q.     Brent Conway told you during your

24 was literally talking -- saying -- every time I tried        24 Internal Affairs investigation that Sullivan was


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 1 telling you to keep digging?                                        1                 MR. GREEN:   If you can't remember, you

 2          A.       Yes.    He said he tried to close the             2         can't remember.

 3 case several times and that they told him to keep                   3                 THE WITNESS:   Okay.

 4 digging.      That Sullivan told him to keep digging, and           4 BY MS. ULAK:
 5 he told -- that's when he told me that I would go                   5         Q.      Okay.   I'm going to ask this a

 6 against up any deputy because I know a witch hunt                   6 different way, please let me get my question out,
 7 when I see -- you know, I know one when I see it.                   7 okay?
 8 I've been doing this for too long.                                  8                 I know that you filed a complaint with

 9          Q.       Okay.    So then did you make an EEO              9 the EEOC under the representation of counsel.
10 complaint to the City of Philadelphia?                             10                 Did you make any complaints to perhaps

11          A.       No, I didn't because I knew that it              11 the City of Philadelphia Employee Relations unit, to
12 would not be done fairly given what was going on with              12 the Mayor's Office of Labor?
13 the current investigation and how, you know, he was                13         A.      No, I didn't know that was an option --

14 trying to interfere in the investigation.        And the --        14 I don't recall if that was an option.
15 the department is known for, you know, minimizing                  15         Q.      Did you make a complaint to your Union?

16 what's going on if it's against a higher up.        So I           16         A.      Yes, I called the Union and they told

17 knew that it would not be a fair investigation that                17 me because I was a lieutenant they could not
18 would go on if you have the person that I'm                        18 represent me.
19 complaining about telling an investigator to keep                  19         Q.      But you were represented by the Union

20 digging to see if he finds something negative against              20 at your Internal Affairs investigation?
21 me.                                                                21         A.      The Internal Affairs investigation, any

22          Q.       Ms. Cintron, could you have made a               22 officer giving a statement regardless of rank gets
23 complaint to the City of Philadelphia outside of your              23 represented by an attorney.
24 departmental means?                                                24         Q.      Okay.   You're saying the Union couldn't

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 1          A.       What was that?                                    1 help you with this complaint because you were a
 2          Q.       Could you have made a complaint to the            2 lieutenant --
 3 City of Philadelphia outside of your departmental                   3         A.      With the rank of lieutenant because

 4 means?                                                              4 you're in management is different than representing
 5                   Could you have made a complaint to a              5 an officer in -- in investigations.      But yes, I did

 6 different office?                                                   6 contact my Union.
 7                   (Simultaneous crosstalk.)                         7         Q.      Okay.   Ms. Cintron, you had mentioned

 8                   THE WITNESS:    I made a complaint to the         8 earlier some health issues, I just want to talk to
 9          Department of Human Services, the complaint                9 you briefly about that and we are coming towards the
10          that I made.      I went outside of the department        10 end of this deposition, so there is end in sight.
11          for fear of further retaliation.                          11                 In terms of health issues, have you

12 BY MS. ULAK:                                                       12 ever had cancer?
13          Q.       Who did you make that complaint to?              13         A.      Have I ever had cancer?

14          A.       I believe it was the City -- I'm not             14         Q.      Yeah.

15 sure.    The Department of Human EEOC unit, the City's             15         A.      No.    I have -- I had tumors that they

16 EEOC unit --                                                       16 had to remove that they checked for cancer for, yes.
17          Q.       Well, there's --                                 17         Q.      Okay.   Do you currently treat for any

18                   THE WITNESS:    If that's what it's              18 medical conditions?
19          called?                                                   19         A.      Yes.

20 BY MS. ULAK:                                                       20         Q.      What do you treat for?

21          Q.       So there is the EEOC -- I'm sorry.               21         A.      I have -- I have two -- I have

22          A.       No, I was asking Mr. Green is that what          22 hypothyroidism and they recently found two small
23 it's called because I can't remember what the name of              23 tumors, one in my pituitary gland and one in -- like
24 the office is called.                                              24 behind -- I forget what other part.      Behind my eye


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 1 and my pituitary gland.                                         1        Q.      The gentleman who was there before

 2        Q.      Why did you go out on leave from the             2 Deputy Dahl-Campbell, do you know what his race was?
 3 City of Philadelphia?                                           3        A.      He was a black male selected by Richard

 4        A.      That was due to stress, anxiety,                 4 Ross to oversee the unit when I was out.
 5 depression and PTSD-related symptoms.                           5        Q.      And then do you know when Dahl-Campbell

 6        Q.      And when did you -- when did you treat           6 became the commanding officer of PAL?
 7 for that?   When -- strike that.                                7        A.      She became the deputy commissioner of

 8        A.      I think it started -- it started like            8 PAL after this captain who got promoted to inspector
 9 the end -- I believe the middle of 2017, it started             9 I believe --
10 after Sullivan was there.                                      10        Q.      Okay.    You said Deputy Commissioner --

11        Q.      Prior to that, had you ever treated for         11        A.      -- which was a few months later.

12 any mental health conditions?                                  12        Q.      You say Deputy Commissioner --

13        A.      No, not --                                      13        A.      Can you repeat that?

14                MR. GREEN:    Can you repeat that               14        Q.      I'm sorry, I think we're having an

15        question, please?                                       15 audio lag, I think that might be part of the problem.
16                Before you answer, Evelyn, before you           16                You say deputy commissioner of PAL, do

17        answer, I just need the question repeated.              17 you mean commanding officer of PAL?
18                MS. ULAK:    Renee, I'm sorry, can you          18        A.      You're talking about the inspector, the

19        just repeat the question back.     I don't              19 person who got promoted to inspector?
20        remember what I asked.                                  20        Q.      No, I'm talking about Krista

21                THE COURT REPORTER:    Sure.                    21 Dahl-Campbell.
22                         * * * * *                              22        A.      Right.    She would have gotten assigned

23                (Whereupon, the requested portion of            23 by the deputy or the commissioner.
24        the testimony was read back by the court                24        Q.      And just so we're clear, she's a woman?

                                                       Page 140                                                        Page 142
 1        reporter.)                                               1        A.      Yes.

 2                        * * * * *                                2        Q.      Do you know who currently holds the

 3                MR. GREEN:    Thank you.                         3 position of commanding officer of PAL?
 4                THE COURT REPORTER:    You're welcome.           4        A.      No.    All I know is that Deputy

 5                THE WITNESS:    Prior to that I -- I --          5 Commissioner Campbell was working with me to get a --
 6        like everybody I got depressed once in a while           6 the 26th District open, center open which was --
 7        but it was never to the extreme of me having             7 which had the community in an uproar because Dahl had
 8        to go to a specialist about it.                          8 gotten funding for the center three years prior to
 9 BY MS. ULAK:                                                    9 open up the 26th District PAL center --
10        Q.      When did you start going to a                   10        Q.      Hang on.    Ms. Cintron -- Ms. Cintron,

11 specialist?                                                    11 is this about who replaced Krista Dahl-Campbell as
12        A.      2017.                                           12 the commanding officer of PAL?
13        Q.      Ms. Cintron, who replaced you as                13        A.      No.

14 commanding officer of PAL?                                     14        Q.      Okay.

15        A.      I don't know who replaced me.     I think       15        A.      I'm just telling you what I'm familiar

16 it was a male captain selected by Ross who got                 16 with as far as the captain.
17 promoted -- promoted thereafter a few months later             17        Q.      Okay.    Yeah, then you don't need to

18 and then they could -- the current Deputy                      18 continue.   This is not responding, there's no

19 Commissioner Dahl-Campbell.                                    19 question pending.
20                THE COURT REPORTER:    I'm sorry, what is       20        A.      Okay.    Okay.   No problem.

21        his last name?                                          21        Q.      While you were out on leave, did Deputy

22                THE WITNESS:    Dahl-Campbell.                  22 Wimberly ever leave you voicemail?
23                MS. ULAK:    D-A-H-L hyphen Campbell.           23        A.      Yes.

24 BY MS. ULAK:                                                   24        Q.      Okay.    And what was the substance of


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 1 that voicemail?                                               1 came back from the conferences that we all had to go
 2        A.     She called me, she left a message               2 to, my co-worker who I was assigned to a specific
 3 because I didn't answer the phone call and she left a         3 conference told me that my boss had spoke to Deputy
 4 message basically stating that she -- I can't say             4 Commissioner Coulter at the conference and he said I
 5 word-for-word because I don't have it in front of me,         5 don't know what's coming but is there anything that
 6 but something along the lines that she heard I was            6 you need to speak to Greg Doren about?   And I told

 7 under the weather.    She mentioned something about the       7 him no because when I applied for the job, without
 8 job and if I needed to discuss anything work-related          8 bad mouthing the City, I told him that, you know, I
 9 to give her a call, that -- and that she hopes I feel         9 had left in, you know, bad terms because of what
10 better.                                                      10 was -- you know, because of my stress and stuff like
11        Q.     Okay.    But --                                11 that.
12        A.     I don't know all the words, but that           12               And I think it was that Monday or

13 was the gist of it.                                          13 Tuesday that he called me to tell me that they no
14        Q.     Okay.    What was your understanding of        14 longer needed me.
15 why she left you that voicemail?                             15         Q.    Okay.   So you testified that there was

16        A.     Well, I returned her phone call once I         16 a conversation between Deputy Coulter and Greg Doren?
17 realized she called and I had missed the call and we         17         A.    Yes.

18 talked about what was going on and how I felt about          18         Q.    And after this conversation you were

19 Sullivan and told her that he was using his authority        19 told they no longer needed you?
20 to intimidate me and to constantly cause a stressful         20         A.    Yes.

21 work environment.    And I explained to her that was         21         Q.    How do you know this conversation

22 the reason why I went out because between people             22 occurred?
23 coming in my office to yell at me and getting a call         23         A.    He called me, then he told me that if I

24 from him every day to be yelled at over whatever the         24 wanted to collect my bonus to write a memo.   He told

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 1 Board told him without getting my side of the story           1 me it could be a two-liner, just write something
 2 was becoming very stressful to me and I was                   2 saying that -- that you're resigning and that's the
 3 physically getting sick, like throwing up and just            3 only way I could give you the bonus, you know, and I
 4 not like feeling well at all.                                 4 did it because I was hoping he would pay me the bonus
 5        Q.     Ms. Cintron, where did you go to work           5 I earned, but that never happened.
 6 after you retired from the police department?                 6         Q.    Ms. Cintron, my question was how do you

 7        A.     What was that?                                  7 know this conversation between Greg Doren and Deputy
 8        Q.     Let me ask it a better way.                     8 Coulter occurred?
 9               After you retired from the police               9         A.    According to Jeff, my co-worker, he

10 department, did you get another job?                         10 spoke to Greg Doren who told him and he kind of like
11        A.     Not right away because physically I            11 told me -- he told me about it.
12 couldn't, but once I started feeling a little bit            12         Q.    Okay.   What's Jeff's last name?

13 better I tried to obtain employment.    For whatever         13         A.    I can't recall Jeff's last name.

14 reason I was not getting hired, I would go through           14         Q.    And where -- and Jeff -- where was Jeff

15 the whole process and then once they communicated            15 in all of this?   How does he know the conversation

16 with the department I was not getting hired and I did        16 occurred?
17 get hired by the one company.                                17         A.    He -- according to him, he spoke to

18               I worked there a few months, was doing         18 Greg Doren the night before because since he was a
19 well, even according to my supervisor there, and I           19 senior employee with the company he had to report to
20 think on a Friday or Thursday we had a -- a Zoom             20 Greg every night as to what was going on, how we were
21 meeting before we went out to our conferences and my         21 doing in the conference.   And he told me when we were

22 boss at the time gave me my accolades of how well I          22 heading the next day to the conference again he told
23 was doing, how many accounts I had secured.                  23 me I spoke to Jeff last night -- I mean I spoke to
24               And following the -- the -- when we all        24 Greg last night and Greg mentioned that he spoke to


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 1 your old boss.    Do you know a Christine Coulter and I           1 was an employee about whom you received a phone call
 2 told him yes.    He said well, you may want to talk to            2 from Daryl Clark, a police officer, a young police
 3 Greg and -- Greg about if there's anything that you               3 officer; is that right?
 4 need to tell him.      I said there's nothing I need to           4        A.       Yes.

 5 tell him because I was completely honest with him                 5        Q.       Okay.    What was the nature -- what --

 6 when I got the job, and that's all he said to me.                 6 what did Mr. Clark say to you during the course of
 7 And then like I said a few days later I was being                 7 that phone call?
 8 told I wasn't needed.                                             8                 MS. ULAK:      I'll object.   Asked and

 9        Q.       Okay.    Ms. Cintron, you testified               9        answered.    She testified to it several times,

10 earlier about a lot of complaints that you were                  10        but...

11 making to Joe Sullivan regarding PAL and the way that            11                 MR. GREEN:      Okay, I just want to be

12 it was run, did you ever make these complaints in                12        clear on it.

13 writing anywhere?                                                13                 MS. ULAK:      Okay.

14        A.       Yes.    I sent him several memos,                14 BY MR. GREEN:
15 e-mails.                                                         15        Q.       What did Mr. Clark say to you during

16        Q.       Okay.    And were you ever disciplined           16 the course of that phone call?
17 for making these complaints?                                     17        A.       He had called me stating that Ron

18        A.       Not -- I never was disciplined.      I was       18 Rabena was asking about -- called him to inquire
19 just ignored and nothing ever happened, he would                 19 about the young man that he wanted transferred in the
20 always side with the Board.                                      20 unit and I explained to Daryl Clark that I couldn't
21                 MS. ULAK:    Those are all the questions         21 move him given the fact that he didn't qualify to
22        I have for you.      Thank you.                           22 come to the unit and he said well, I think you should
23                 MR. GREEN:    I have just a couple.              23 transfer him in or I'm going to start making some
24                 MR. GOLDEN:    Ike, just -- can I --             24 phone calls about you and he said starting with
                                                         Page 148                                                            Page 150
 1        quick question?                                            1 Commissioner Ross --
 2                 MR. GREEN:    Oh, okay.                           2        Q.       Now, wait a minute.      Wait a minute.

 3                 MR. GOLDEN:    We can go off -- well, let         3 Before -- I have to take this in pieces.
 4        me keep this on the record just because it's               4                 Who is Ron Rabena?

 5        easier this way, quicker.                                  5        A.       Ron Rabena is a Board member and at the

 6                 I have some follow-up clarification               6 time he was the VP of PAL.
 7        questions.      Do you want -- would you like to           7        Q.       He was the VP, he was the

 8        go first or would you like me to go first and              8 vice-president of PAL?
 9        then maybe you can -- if there's anything that             9        A.       Yes.

10        follows up out of my clarification, maybe it's            10        Q.       Okay.    At the time that this phone call

11        easier or -- but I defer to you on how you'd              11 took place?
12        like to handle that?                                      12        A.       Yes.    Yes.

13                 MR. GREEN:    Let -- let me go first, if         13        Q.       So he was on the PAL Board?

14        you don't have a problem with it.                         14        A.       Yes.

15                 MR. GOLDEN:    No, I don't.                      15        Q.       Okay, and did Mr. Ron Rabena mention

16                 MR. GREEN:    Okay.   All right.   Thank         16 the name of the employee that he wanted to be placed
17        you.                                                      17 at PAL or to remain at PAL, the police officer?
18                           * * * * *                              18        A.       He mentioned the same person -- he

19                     CROSS-EXAMINATION                            19 mentioned the same person that he had asked me to
20                           * * * * *                              20 transfer in and the same person that worked for
21 BY MR. GREEN:                                                    21 Captain Francis at the 17th.
22        Q.       Ms. Cintron --                                   22        Q.       I'm sorry, he worked for captain whom?

23        A.       Yeah.                                            23        A.       Francis at the 17th.      He worked at the

24        Q.       -- excuse me, you testified that there           24 17th District.


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 1          Q.     Do you recall the time frame in which             1 the police department.
 2 he worked at the 17th, to the best of your                        2          Q.   Excuse me.    Did Mr. Rush ever call you

 3 recollection?                                                     3 in connection with your relationship on the PAL
 4          A.     2017, 2018 I believe.       For sure 2017.        4 Board?
 5          Q.     And you don't remember the young man's            5          A.   Yes.

 6 name?                                                             6          Q.   Okay.    Did Ms. Rush ever call you with

 7          A.     It's on some of the documents, but I              7 respect to any issues regarding the men on the PAL
 8 can't recall it, you know, off the top of my head his             8 Board or the men affiliated with PAL organizations?
 9 name.                                                             9          A.   Yes.    She -- she arranged a meeting

10          Q.     Okay.    But you believe that you have           10 with me and when I went to meet her, she spoke to me
11 them in your documents somewhere, is that it?                    11 about the PAL Board.    Do you want me to elaborate?

12          A.     Yes.    Yes.                                     12          Q.   When did she call you -- Ms. Cintron,

13          Q.     Now, did you mention to Mr. Rabena the           13 this is a different question.    When did Ms. Cintron

14 policy with respect to assigning officers to PAL                 14 (sic) -- when did Ms. Rush call you in connection
15 units?                                                           15 with the meeting regarding about with the PAL Board?
16          A.     Yes, several times.                              16          A.   This was some time in 2017.

17          Q.     Or PAL facilities?                               17          Q.   This was in 2017?

18          A.     Yes.                                             18          A.   Yes.

19          Q.     Okay.    And did Mr. Rabena also have a          19          Q.   Okay.    Did that meeting occur?

20 relationship with a company in connection with his               20          A.   Yes.

21 employment?                                                      21          Q.   And where did that meeting occur?

22          A.     Ron Rabena does the Hero Scholarship             22          A.   She said she didn't want to meet in her

23 fundraiser.   He assists in the Hero Scholarship                 23 office, so she had me meet her at a restaurant near
24 fundraiser that is -- that was or used to be ran by              24 the University of Penn.
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 1 Sullivan.                                                         1          Q.   And what -- what was discussed during

 2          Q.     Okay.    And is Mr. Rabena affiliated             2 the course of that meeting?
 3 with Allied Universal Security?                                   3          A.   When I first arrived I started talking

 4          A.     Yes, he's -- yes, he's the president.             4 about programs because I thought that's what we would
 5          Q.     And Daryl Clark is the -- I'm sorry,              5 discuss according to the conversation I had with her
 6 Daryl Clark was the City Council president, correct?              6 over the phone and according to what Ted Qualli had
 7          A.     Yes.                                              7 told me when he spoke to me that Maureen Rush wanted
 8          Q.     Do you know whether Mr. Clark spoke to            8 to meet with me.
 9 Deputy Commissioner Sullivan?                                     9               But when I went down there she began to

10          A.     I don't know if he spoke to him.                 10 talk to me about letting PAL -- and Ted Qualli run
11          Q.     All right.     Excuse me.    Hold on for one     11 PAL, she stated -- I asked her who put her up to this
12 second, please.    All right.                                    12 to have this conversation with me and I mentioned was
13                 And was there a lady on your Board               13 it Ron Rabena, Ted Qualli, Bernie Prazencia and she
14 named Maureen -- on the PAL Board named Maureen Rush?            14 said yes, they figured that we could have a talk
15          A.     Yes.                                             15 woman to woman.    You need to -- they're concerned

16          Q.     And who is Ms. Rush?                             16 about what's going on at PAL.    They do not want this

17          A.     Maureen Rush is the chief director at            17 MOU to be implemented, and she began to tell me that
18 University of Penn, I believe that's her title, in               18 I should let Ted run the show and she stated that I
19 charge of the police department there and she's also             19 should just put my legs up and collect my check.
20 a Board member.                                                  20               She also mentioned let the men handle

21          Q.     Did Mr. Rush -- was Ms. Rush ever                21 this and she also mentioned that it's not going to
22 employed by the City of Philadelphia Police                      22 be -- go well for me if I continue to fight them on
23 Department?                                                      23 the things that they're trying to do.
24          A.     Yes.    She retired as a lieutenant with         24          Q.   Okay.    Now, you testified -- you


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 1 mentioned the name Mr. Rabena, and, who -- okay, and              1 center so they could give some input and I was in
 2 that was another name that you mentioned.                         2 charge of the programs team.
 3          A.      Bernie Prazencia.                                3        Q.       So just so I -- forgive me to correct

 4          Q.      Mr. Prazencia, who is Mr. Prazencia?             4 this on the record, but Chase Trimmer was a civilian
 5          A.      He was vice chair of the PAL Board at            5 employee, correct?
 6 the time.     He later became chair.                              6        A.       Yeah.

 7          Q.      Did either Mr. -- did Mr. Prazencia              7        Q.       And -- and what was the first name of

 8 ever ask you to perform any act on behalf of someone              8 McCauley?
 9 that he recommended to you to either employ or                    9        A.       Nadarih.

10 assign?                                                          10        Q.       Oh, Nadarih, and Nadarih is also a

11          A.      No.                                             11 civilian employee, correct?
12                  MR. GREEN:    All right.    I think that's      12        A.       Yeah.    She was -- she was -- she was

13          about it for me.                                        13 a -- she would sit in the meetings as a coordinator
14                  MR. GOLDEN:    Thank you.                       14 because she was hired to be a PAL coordinator.
15                            * * * * *                             15        Q.       So just so I'm clear, Mr. Trimmer and

16                        CROSS-EXAMINATION                         16 Ms. McCauley were PAL employees, correct?
17                            * * * * *                             17        A.       Yes.    Chase Trimmer was the

18 BY MR. GOLDEN:                                                   18 supervisor -- was her supervisor and she sat in the
19          Q.      Ms. Cintron, I'll try to be quick with          19 meetings as a coordinator because whatever we decided
20 my questions and they mostly -- just try to clarify              20 at the meetings she would have to coordinate with the
21 some things that we've talked about today.                       21 officers at the center.
22                  When you became the commanding officer          22        Q.       You had talked about Officer Little and

23 of PAL, was Ted Quality -- pardon me, Ted Qualli                 23 some reimbursement issues, you mentioned that there
24 already the executive director?                                  24 are rules governing reimbursement for officers; is
                                                         Page 156                                                         Page 158
 1          A.      Yes.                                             1 that correct?
 2          Q.      Do you know how long he had held                 2        A.       Yes.

 3 that -- pardon me.                                                3        Q.       Have you ever seen those rules?

 4                  Do you know how long he had been                 4        A.       Yes.

 5 serving as executive director?                                    5        Q.       Okay.    And what are they -- where --

 6          A.      Approximately a year and a half or so.           6 where did you see them?
 7          Q.      Okay.    Just so a year and a half before        7        A.       That's a PAL rule and the -- I saw it

 8 you --                                                            8 in the handbook, employee handbook, as well as I
 9          A.      From my recollection, yes.                       9 discussed it with Ted Qualli and Sunny Li because
10          Q.      -- before you became the commanding             10 they were having these issues with Officer Little.
11 officer?                                                         11        Q.       The -- the handbook you mentioned, is

12          A.      Yes.                                            12 that a PAL employee handbook?
13          Q.      You mentioned earlier the programs              13        A.       Yes.

14 team, are there any other teams within PAL that you              14        Q.       Did you have to sign an acknowledgment

15 remember, like specific teams within the                         15 for that handbook?
16 organization?                                                    16        A.       Do I have to sign an acknowledgment?

17          A.      So they have like the fiance team which         17        Q.       For that handbook.

18 is all management.       They have all the programs team,        18        A.       No.    No, it's just a document that they

19 activities team, you know, event coordinators.                   19 have there.
20          Q.      The programs team that you mentioned            20        Q.       And just so I can clear this up in --

21 earlier, do you recall the names of the City                     21 because we've covered a lot.
22 employees that were on the programs teams?                       22        A.       I also -- I also --

23          A.      Nadarih McCauley, Chase Trimmer, a few          23        Q.       Okay, hold on.    Hold on.

24 officers they would invite them to come in from the              24                 MR. GOLDEN:    Renee --


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 1                THE COURT REPORTER:   She was cutting          1                 Which -- for which PAL centers did you

 2        out.   I just wanted to make sure I got it.     Go     2 see the lease?
 3        ahead, ma'am, finish.                                  3          A.     Wissinoming because we were dealing

 4                THE WITNESS:   Because Ted Qualli was          4 with that situation and the 26th District PAL.
 5        having these problems with the officers, I put         5          Q.     And for the centers where PAL rents or

 6        out a memorandum, a commander's order that             6 has a lease, does it pay rent to those building
 7        they were not allowed to go in their pocket.           7 owners?
 8        Basically reiterating what the PAL policy              8          A.     Yes, the rent is different for every --

 9        stated.                                                9 every center according to Ted Qualli because that was
10 BY MR. GOLDEN:                                               10 the agreement that they came up with to get the -- to
11        Q.      We have -- during the deposition you've       11 get the lease on those buildings.    Some were also

12 referred to both police officers and civilian staff          12 City owned buildings like rec centers.
13 and just -- this helps when the lawyers are looking          13          Q.     Do you know who negotiated the terms of

14 at this later, you know, being consistent in the             14 those leases?
15 transcript, when you testify or refer to civilian            15          A.     No.

16 staff, you are referring to PAL employees; is that           16          Q.     Do you know -- did those -- in the

17 correct?                                                     17 lease that you saw, did it have any provisions
18        A.      Yeah.                                         18 relating to repair and upkeep responsibilities?
19        Q.      Okay.   Did any of the PAL employees          19          A.     Well, the 26th District was supposed to

20 have the ability to set your schedule?                       20 be open with the funds that they received from a few
21        A.      No.                                           21 years prior and because we were getting such -- we
22        Q.      Did any of the PAL employees have the         22 were going to get such cheap rent, Ted agreed in my
23 ability to discipline or reprimand you?                      23 presence during a meeting with the priest that some
24        A.      No.                                           24 repairs would get done there.    But when it came to

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 1        Q.      Okay.   Ms. Cintron, when you became the       1 opening up the center, Ted did not -- stated that the
 2 commanding officer, do you know how many centers PAL          2 money went in an investment account and they didn't
 3 was operating in the City?                                    3 budget for it.
 4        A.      Fifteen.                                       4          Q.     Do you know who was responsible for

 5        Q.      And the Wissinoming -- Wissinoming             5 setting PAL's budget?
 6 Center, you said that was in a church, correct?               6          A.     We would sit down at headquarters, go

 7        A.      Yeah.                                          7 over budget items, some stuff Ted would express that
 8        Q.      And that was -- did PAL own that               8 per the Board they were not to be touched and they
 9 building?                                                     9 were to be left alone, and the stuff that we could
10        A.      No.                                           10 make decisions on we would make decisions but at the
11        Q.      Of the 15 centers that PAL operated,          11 end a lot of the stuff that I recommended would get
12 you testified that PAL owned the Rizzo and the Cozen         12 changed or Ted would change it.
13 Center, were there any other centers that PAL owned?         13                 So what we discussed in terms of

14        A.      That was it that I could recall.              14 budgeting never actually went through the way that we
15        Q.      Do you know in the centers that PAL did       15 discussed it because changes were made at the Board
16 not own, so I'm excluding the Rizzo and the Cozen PAL        16 level.
17 Centers, did PAL have any leases with those building         17          Q.     So who had -- who had final approval to

18 owners?                                                      18 set the budget, do you know?
19        A.      Yes.                                          19          A.     The Board would be final approval.

20        Q.      And have you seen those leases?               20          Q.     Do you know -- you had talked earlier

21        A.      I got to see maybe one or two because         21 about closing the Wissinoming Center, apart from
22 Ted would not show them to me.                               22 yourself, do you know who else had authority to close
23        Q.      Do you recall which centers leases --         23 the PAL center?
24 which releases -- I'm sorry, that was poorly worded.         24          A.     PAL, PAL Board, Ted Qualli.


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 1        Q.      There are couple of names that you --           1 you know how often the decision-making meetings
 2 were referenced today, I just want to clear up.                2 occurred?
 3 Keith Falco is that a -- is he a police officer?               3          A.   Ted Qualli with me and Bernie Prazencia

 4        A.      He's a police officer that works PAL            4 with Ron Rabena once a month, sometimes twice a
 5 headquarters selected by Sergeant Faust.                       5 month.
 6        Q.      And Officer Ragucci; is that correct?           6          Q.   And do you know of those how many you

 7        A.      Yes.   Officer Ragucci is another               7 were excluded from?
 8 officer that works procurement at PAL headquarters             8          A.   All of them except the one when I first

 9 also selected by Sergeant Faust.                               9 got there.
10        Q.      And Sergeant Faust is a City employee;         10          Q.   And do you -- what -- what evidence do

11 is that correct?                                              11 you have that you should have been included in those
12        A.      Yes.                                           12 meetings?
13        Q.      And Police Officer Little, she is              13          A.   When I first got there I was told -- I

14 a police -- pardon me, a City employee; is that               14 was invited to that first meeting with Bernie
15 correct?                                                      15 Prazencia and Ted Qualli and they told me that as a
16        A.      Yes.                                           16 commanding officer I will be at those meetings
17        Q.      You had talked earlier today about both        17 because that's when all the decision making was done.
18 general board meetings and decision-making meetings           18          Q.   Apart from those statements, anything

19 and you would attend the general board meetings.      Do      19 else that relates to your ability to be in those
20 you recall that?                                              20 meetings?
21        A.      Yes.   The general board meetings are          21          A.   After that Ted started -- would go to

22 more for the public to -- to let them know what PAL           22 the meetings alone.   They wouldn't notify me when the

23 is doing.   No decisions are made at those meetings.          23 meetings were taking place and Ted would come back
24        Q.      Do you recall how often those meetings         24 with the decisions that were already made.    And I --

                                                      Page 164                                                        Page 166
 1 occurred, the general board meetings?                          1          Q.   I appreciate that -- go ahead.

 2        A.      Quarterly.                                      2          A.   And I explained to him that it's hard

 3        Q.      And the decision-making meetings, do            3 for me to follow some of their requests or decisions
 4 you know how often they occurred?                              4 because it would violate things on the police side in
 5        A.      Monthly.                                        5 terms of changing the officers' shifts and things
 6                MR. GOLDEN:    Hold on.   I just                6 like that, that were in violation of contractual
 7        dropped -- somebody just dropped off.                   7 agreement with the FOP or policy.
 8                THE COURT REPORTER:    Off the record.          8          Q.   Did civilian staff have the ability to

 9                        * * * * *                               9 set police officers' schedules?
10                (Whereupon a discussion was held off           10          A.   No.

11        the record.)                                           11          Q.   Okay.   Did you have a job description

12                         * * * * *                             12 that detailed what you did as the commanding officer?
13                MR. GOLDEN:    So, I think -- Renee, can       13          A.   No.

14        you read the last question?                            14          Q.   Okay.

15                MR. GREEN:    Can you read that question       15          A.   That's what prompted the Memorandum of

16        and the question before that?                          16 Understanding.
17                THE COURT REPORTER:    Sure.   No problem.     17          Q.   Okay.   When -- prior to yourself, I

18                         * * * * *                             18 believe it was officer -- Commanding Officer Eddis is
19                (Whereupon, the requested portion of           19 who served as the commanding officer of PAL; is that
20        the testimony was read back by the court               20 correct?
21        reporter.)                                             21          A.   Yes.

22                        * * * * *                              22          Q.   Do you know how many of those

23 BY MR. GOLDEN:                                                23 decision-making meetings he was involved in?
24        Q.      So, Ms. Cintron, do you recall -- do           24          A.   No.


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 1        Q.     Okay.    Do you recall any documents that       1 officer did XYZ, you know, and -- but the ones that
 2 discussed or set your authority as the commanding             2 were mainly describing what my job duties would be
 3 officer of the PAL unit?                                      3 was Bernie Prazencia and Ron Rabena.
 4        A.     No, that's why we -- the commissioner           4        Q.     And apart from --

 5 wanted the MOU so that we can outline what each of us         5        A.     And I had even had the conversation

 6 was supposed to be doing and how we were supposed to          6 with Ted Qualli.
 7 be working together.                                          7        Q.     And did -- okay.    So Ron and Bernie

 8        Q.     Do you know who decides which programs          8 told you that, anyone else told you that you would
 9 are run at each PAL center?                                   9 have equal authority with Ted?
10        A.     The officers, for the most part, will          10        A.     He said Ted Qualli like when we would

11 ask what programs -- will have a set of programs that        11 speak, he said this is what they told me when I --
12 they want to run at their center but everything has          12 before I even got there at the meeting.   Then when I

13 to be approved through -- through PAL.    They'll have       13 got there Ted and I had several conversations and he
14 their ideas, they'll submit their ideas, sometimes           14 said we would -- you know, we're supposed to work
15 they're approved, sometimes they're not, depending on        15 together to do XYZ, to run the unit and he explained
16 the budget.                                                  16 that the previous commanding officer Eddis didn't
17        Q.     You had talked about having equal              17 want to contribute to running PAL which is why they
18 authority to Ted, who -- who told you that you would         18 got rid of her.
19 have equal authority to Ted?                                 19               He referred to Eddis as lazy and didn't

20               MR. GREEN:    I'm sorry, can you repeat        20 want to do the job.   Ted Qualli said so I have to

21        that question, please?                                21 take over some of his responsibilities, at which time
22               MR. GOLDEN:    Sure.                           22 I told Ted well, I'm here now, you can relinquish my
23               Earlier in the deposition she had              23 authority back to me because I will do my job.
24        talked about having equal authority,                  24        Q.     Are there any documents in which you're

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 1        Ms. Cintron had talked about having equal              1 aware -- that -- and I'm going to leave aside the
 2        authority to Ted.                                      2 Memorandum of Understanding, so I'm asking about
 3 BY MR. GOLDEN:                                                3 documents apart from that.
 4        Q.     And my question was, Ms. Cintron, who           4               So apart from the Memorandum of

 5 told you that you would have equal authority with --          5 Understanding, is there any document that you're
 6 with Mr. Qualli?                                              6 aware of that states you have equal authority to Ted
 7        A.     When I went to the unofficial interview         7 Qualli?
 8 with the PAL Board when I first started, that's what          8        A.     I didn't see any document about that at

 9 they explained to me as per Commissioner Ross.                9 all.   I didn't see any documents about that at all,

10        Q.     Who on the Board specifically do you           10 and because there started to become some conflicts
11 recall telling you that?                                     11 that MOU was to become that document.
12        A.     At that meeting there was at least 15          12        Q.     And the same -- same question in a

13 Board members including Ron Rabena and Bernie                13 sense, apart from the MOU, are there any documents
14 Prazencia and Ted Qualli.                                    14 that you have seen that state that you would be
15        Q.     Okay, but what I'm asking is which of          15 responsible for the budgeting at PAL?
16 those Board members told you you have would equal            16        A.     No.   I just answered that, no.   That's

17 authority?                                                   17 the reason why they were implementing the MOU.
18        A.     I believe it was either Ron Rabena or          18        Q.     Okay.   So that's the same for both, the

19 Bernie Prazencia, I can't recall but they were the           19 equal authority and the budgeting, there are no
20 two main ones speaking.    The rest just asked random        20 documents apart from the Memorandum of Understanding?
21 questions as to what -- what I would do in different         21        A.     Which was supposed to be put in place

22 circumstances as it pertains to, you know, the               22 but Sullivan stopped it and the Board did not want
23 officer and discipline or they would give me like            23 it.
24 little scenarios, like what you would do if an               24        Q.     Right, I hear that.   But I just -- so


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 1 and -- but that would be the only document of which              1 takeover from PAL to civilians because they would
 2 you are aware that states you have equal authority to            2 implement programs and hire people to do their jobs
 3 Ted or responsibility for the budget; is that                    3 and the officers didn't like that because they like
 4 correct?                                                         4 working with the kids, they liked being involved with
 5        A.      It would have outlined our job duties,            5 the kids, and slowly but surely they were replacing
 6 yes.                                                             6 the officers with -- with civilian staff to do
 7        Q.      Okay.    So I just want to be clear               7 certain activities that the officers actually enjoyed
 8 though that that is the only document of which you               8 doing with the kids.
 9 are aware that speaks to your job responsibilities as            9                So it was a very condescending

10 the commanding officer; is that correct?                        10 situation when I got there between the civilians and
11        A.      Yes.                                             11 the police.   So we decided to have a retreat to try

12        Q.      Okay.    Do you -- okay.                         12 to bring them together as one unit so that nobody is
13                The incident with Chase Trimmer and              13 arguing, nobody, you know, is fighting about petty
14 Officer Klayman -- I don't need to ask that.                    14 stuff.    But the officers kept complaining that the

15                You mentioned earlier a couple of                15 civilian staff, you know, would, you know, make
16 incidents where Ted had yelled at you, can you tell             16 snarky remarks at them and they were not getting
17 me what you remember about what he said to you, like            17 along at all and we were trying to correct them.
18 what was he yelling at you or what he was saying?               18                So some of the stuff he would come in

19        A.      It would be about the Memorandum of              19 and that would be about other stuff and he would be
20 Understanding.   It would be about my complaints to             20 like you need to go speak to this officer like ba,
21 Sullivan.   It would be about everything that I spoke           21 ba, ba.    So it could be about anything that he would

22 about, and he would come in to my office and just               22 come in my office to yell about.
23 have these, you know, tantrums and yell at me.       And        23                Some stuff like I would be like please

24 repeatedly I would tell him that I didn't disrespect            24 slow down, let's talk about this, what's going on.
                                                        Page 172                                                      Page 174
 1 him and he should not be disrespecting me.     And I             1 But even stuff like that he would come in my office
 2 mentioned that to Sullivan who did nothing about it.             2 to yell about when he was upset.     And then towards

 3 I mentioned it to the Board and they did nothing                 3 the end of me being there was more so about me
 4 about it.                                                        4 complaining about the stuff that I was complaining
 5        Q.      Is there anything specific that Ted               5 about.    So he would come in there and try to provoke

 6 said that led you to believe he was being                        6 me into an argument and I would tell him -- I'd say
 7 disrespectful?                                                   7 what I have to say to my boss and, you know, this is
 8        A.      Yes.    He would come to my office and            8 my decision on this, you know, and they just
 9 yell at me to the point where I would have to tell               9 didn't -- they were getting more and more agitated,
10 him you need to leave because you're not going to               10 and especially got agitated once we received notice
11 yell at me without letting me -- we should be                   11 that the MOU was about to -- we were about to have
12 discussing our concerns, not arguing about it and you           12 this meeting about the MOU which was going to be
13 should not be coming into my office to yell at me.              13 negotiated anyway, but the MOU had just came out, so
14        Q.      Is that everything that you can recall           14 he came in there yelling and I told Sullivan when I
15 what Ted would yell about?                                      15 spoke to Bernie and -- and Bernie Prazencia and Ron
16        A.      It would be about different issues               16 Rabena I explained to them as well the stuff that Ted
17 because before I got to PAL, there was -- the way               17 was doing.
18 that they would deal with problems, it was them                 18          Q.    Do you know who drafted the MOU?

19 against us, it was civilian against police.     And I           19          A.    It was drafted by the commissioner's

20 was trying to change that dynamic and we even had               20 legal advisor and the City Solicitor's office.
21 a -- you know, Ted and I spoke about it and I'm like            21          Q.    Do you know the name by any chance --

22 it shouldn't be them against police -- you know, like           22          A.    I believe the City Solicitor looked at

23 civilian against police.                                        23 it, made the final determination --
24                The police were viewing it as a hostile          24                THE COURT REPORTER:   I'm sorry, who


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 1        made the final determination?                              1              C E R T I F I C A T I O N

 2                 THE WITNESS:    I believe the last person         2
 3        to review it was the City Solicitor's office               3
 4        before it came back to Commissioner Ross.                  4          I hereby certify that the proceedings and

 5 BY MR. GOLDEN:                                                    5 evidence noted are contained fully and accurately in
 6        Q.       Do you know by any chance by name who             6 the stenographic notes taken by me upon the foregoing
 7 drafted either one of those and who drafted in those              7 matter dated ____________2023, and that this is a
 8 offices?                                                          8 correct transcript of the same.
 9        A.       I know from the -- from the person --             9
10 the captain that was assigned to draft it from Ross              10
11 was the legal advisor Fran Healy.                                11
12        Q.       And just so I can close the loop on              12
                                                                                  RENEE SCHUMANN
13 this, Ms. Cintron, is that everything you recall                 13            CERTIFIED COURT REPORTER
                                                                                  LICENSE NUMBER: 30XT00005200
14 about the incidents where Ted would yell at you?                 14
15        A.       Yes.                                             15
16                 MR. GOLDEN:    Thank you, Ms. Cintron.           16          (The foregoing certification of this

17        That is all the questions I have.                         17 transcript does not apply to any reproduction of the
18                 THE WITNESS:    Okay.   Thank you.               18 same by any means, unless under the direct control
19                 MS. ULAK:    I don't have any more               19 and/or supervision of the certifying reporter.)
20        questions.                                                20
21                 MR. GOLDEN:    Ike, can we break?                21
22                 MR. GREEN:    Yes.                               22
23                 THE VIDEOTAPE OPERATOR:     The time is          23
24        3:57 p.m., we are off the record.                         24
                                                         Page 176
 1                        * * * * *

 2                 (This concludes the deposition of

 3        Evelyn Cintron at 3:57 p.m.)

 4                        * * * * *

 5                 MR. GOLDEN:    I would like a copy.      Can

 6        you e-mail that?

 7                 THE COURT REPORTER:     Sure.   Normal

 8        delivery everyone?

 9                 MS. ULAK:    That's fine.

10                 MR. GOLDEN:    Yes.

11                 MR. GREEN:    We'd like to read and sign.

12                 THE VIDEOTAPE OPERATOR:     I just need to

13        know who will be ordering the video.

14                 MR. GOLDEN:    This is Kevin Golden for

15        PAL, I don't believe we'll be ordering this

16        one at this time.

17                 MR. GREEN:    Not at this time.    We may

18        later.    We just need the transcript right now.

19                 MS. ULAK:    Yeah, I think -- I guess

20        I'll take the video.      I did order it.

21                         * * * * *

22                 (Whereupon, Exhibit City-1, City-2,

23        City-3 and City-4 were marked for

24        identification.)


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